           Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 1 of 88
                                                                                                    United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                        September 27, 2023
                              UNITED STATES BANKRUPTCY COURT                                             Nathan Ochsner, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                              §
In re:                                                        § Chapter 11
                                                              §
STRUDEL HOLDINGS LLC and                                      § Case No. 23-90757 (CML)
AVR AH LLC,                                                   §
                                                              § (Jointly Administered)
                   Debtors.1                                  §
                                                              §

                ORDER (I) AUTHORIZING THE DEBTORS TO
        OBTAIN POSTPETITION FINANCING, (II) GRANTING LIENS AND
    SUPERPRIORITY CLAIMS, (III) MODIFYING THE AUTOMATIC STAY, AND
                    (IV) GRANTING RELATED RELIEF
                          [Relates to Docket No. 111]

           Upon the motion (the “Motion”)2 of Strudel Holdings LLC and AVR AH LLC (together,

the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”) seeking entry of this DIP

order (the “DIP Order”), among other things:

    (i)       authorizing the Debtors to obtain postpetition financing up to an aggregate principal
              amount of $5.0 million (the “DIP Financing”) pursuant to that certain Superpriority
              Subordinated Secured Debtor-in-Possession Credit Agreement dated as of September
              8, 2023 attached hereto as Exhibit A (the “DIP Credit Agreement”), and such other
              agreements, documents, certificates and instruments delivered or executed from time
              to time in connection therewith, including the agreements related to the Financing,
              (the “DIP Documents”), among the Debtors, as borrowers and Ajax Holdings, LLC,
              as lender (the “DIP Lender”);

    (ii)      authorizing the Debtors to (a) execute and enter into the DIP Credit Documents, (b)
              pay fees and reimburse expenses under the DIP Documents, as and in the amounts
              described in the DIP Documents, and (c) perform such other and further acts as may be
              required in connection with the DIP Documents;

    (iii)     granting (a) to the DIP Lender the DIP Liens on the DIP Collateral to secure all amounts
              owed under the DIP Documents (the “DIP Obligations”), and (b) to the DIP Lender

1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
    CO 81612.
2
    Capitalized terms used but not defined herein have the meanings given to them in the Motion or the DIP Credit
    Agreement (as defined below), as applicable.

                                                          1
          Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 2 of 88




                the DIP Superpriority Claims (as defined below) in respect of the DIP Obligations,
                subject to the Prior Liens and other terms and conditions hereof;

    (iv)        authorizing the Debtors to use proceeds of the DIP Facility solely in accordance with
                this DIP Order and the other DIP Documents; and

    (v)         modifying the automatic stay to the extent provided for herein.

           The hearing on the Motion having been held by this Court (the “Hearing”), and this Court

having considered the relief requested in the Motion, the exhibits attached thereto, the Declaration

of Douglas Brickley in Support of the DIP Motion (the “Brickley Declaration”), the available DIP

Documents, the evidence submitted, and arguments made at the Hearing; and after due deliberation

and consideration, and good and sufficient cause appearing therefor,

           BASED UPON THE RECORD ESTABLISHED AT THE HEARING, THE COURT

MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF LAW:3

           A.      Petition Date. On July 27, 2023 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

Bankruptcy Court for the Southern District of Texas, Houston Division (the “Court”). The

Chapter 11 Cases are being jointly administered.

           B.      Debtors in Possession. The Debtors have continued in the management and

operation of their businesses and properties as debtors in possession pursuant to sections 1107 and

1108 of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

           C.      Jurisdiction and Venue. This Court has jurisdiction over the Chapter 11 Cases, the

DIP Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern


3
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
    the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
    the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.

                                                         2
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 3 of 88




District of Texas, dated May 24, 2012. Consideration of the Motion constitutes a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). The Court may enter a final order consistent with Article III of

the United States Constitution. Venue for the Chapter 11 Cases and proceedings on the Motion is

proper before this Court pursuant to 28 U.S.C. § 1408. The predicates for the relief sought herein

are sections 105, 362, 363(b), 363(c), 363(m), 364(c), 364(e), 503 and 507 of title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules 2002, 4001, 6004 and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2002-1,

4001-1(b), 4002-1(i), and 9013-1 of the Bankruptcy Local Rules of the United States Bankruptcy

Court for the Southern District of Texas (the “Bankruptcy Local Rules”) and the Procedures for

Complex Cases in the Southern District of Texas (the “Complex Case Procedures”).

       D.      Committee Formation. As of the date hereof, the United States Trustee for the

Southern District of Texas (the “U.S. Trustee”) has not appointed an official committee of

unsecured creditors in these Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code

(a “Creditors’ Committee”).

       E.      Notice. Proper, timely, adequate and sufficient notice of the DIP Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules and the Bankruptcy

Local Rules, and no other or further notice is required to enter this DIP Order.

       F.      Findings Regarding the DIP Financing.

               (i)     Good and sufficient cause has been shown for the entry of this DIP Order

and for authorization of the Debtors to obtain financing pursuant to the DIP Documents.

               (ii)    The Debtors need to obtain the DIP Financing to, among other things,

continue the orderly operation of their business, to fund expenses of these Chapter 11 Cases, and

conduct an orderly sales process for the Debtors’ assets. The access of the Debtors to sufficient



                                                 3
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 4 of 88




liquidity through the incurrence of new indebtedness under the DIP Documents and other financial

accommodations provided under the DIP Documents is necessary to preserve and maintain the

value of the Debtors’ assets and fund expenses of these Chapter 11 Cases.

               (iii)   The Debtors are unable to obtain financing on more favorable terms from

sources other than the DIP Lender under the DIP Documents and are unable to obtain adequate

unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative

expense. The Debtors are also unable to obtain secured credit allowable under section 364(c)(1)

or 364(c)(2) of the Bankruptcy Code without granting to the DIP Lender the DIP Liens and the

DIP Superpriority Claims (each as defined herein), in each case subject to the Carve-Out to the

extent set forth herein, under the terms and conditions set forth in the DIP Order and in the other

DIP Documents.

               (iv)    The DIP Financing, has been negotiated in good faith and at arm’s length

among the Debtors and the DIP Lender, and all of the Debtors’ obligations and indebtedness

arising under, in respect of, or in connection with the DIP Financing and DIP Documents,

including, without limitation, all loans made to the Debtors pursuant to DIP Documents and any

other DIP Obligations shall be deemed to be extended by the DIP Lenders in good faith (as that

term is used in section 364(e) of the Bankruptcy Code and in express reliance upon the protections

offered by section 364(e) of the Bankruptcy Code) and at arm’s length among the Debtors and the

DIP Lender. The DIP Lender (and any successors and assigns thereof) shall be entitled to the full

protection of section 364(e) of the Bankruptcy Code in the event that this DIP Order or any

provision thereof is vacated, reversed or modified, on appeal or otherwise.

               (v)     The Debtors have prepared and delivered to the advisors to the DIP Lender

an initial budget (the “Initial DIP Budget”), attached as Schedule 1 to this DIP Order. The Initial



                                                4
        Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 5 of 88




DIP Budget reflects, among other things, the Debtors’ anticipated operating receipts, operating

disbursements, non-operating disbursements, net operating cash flow and liquidity for each

calendar week covered thereby, in form and substance acceptable to the DIP Lender. The Initial

DIP Budget may be modified, amended, extended, and updated from time to time in accordance

with the DIP Credit Agreement, and such modified, amended, extended and/or updated budget,

once approved by the DIP Lender in accordance with the DIP Credit Agreement, shall modify,

replace, supplement or supersede, as applicable, the Initial DIP Budget for the periods covered

thereby (the Initial DIP Budget and each subsequent approved budget shall constitute, without

duplication, an “Approved Budget”); provided that any proposed modifications to the Approved

Budget shall be provided to, and the Debtors shall consult with, the Prepetition Secured Parties4

regarding such modifications. The Debtors believe that the Initial DIP Budget is reasonable under

the circumstances. The DIP Lender is relying, in part, upon the Debtors’ agreement to comply

with the Approved Budget (subject to permitted variances), this DIP Order and the other DIP

Documents in determining to enter into the postpetition financing arrangements provided for in

this DIP Order.

        G.       Relief Essential; Best Interest. Consummation of the DIP Financing in accordance

with this DIP Order and the other DIP Documents is therefore in the best interests of the Debtors’

estates and consistent with the Debtors’ exercise of their fiduciary duties. The Motion and this

DIP Order comply with the requirements of Local Rule 4001-1(b).

        H.       Prepetition Prior Liens. Nothing herein shall constitute a finding or ruling by this

Court that any alleged Prior Lien (as defined herein) is valid, senior, enforceable, prior, perfected,



4
    “Prepetition Secured Parties” as used herein shall mean, collectively, Wilmington Trust National Association, as
    administrative agent (the “Administrative Agent”), Nineteen77 Capital Solution A LP, and Bermudez Mutuari,
    Ltd.

                                                        5
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 6 of 88




or non-avoidable. Moreover, nothing herein shall prejudice the rights of any party-in-interest,

including, but not limited to, the Debtors or the DIP Lender, to challenge the validity, priority,

enforceability, seniority, avoidability, perfection, or extent of any alleged Prior Lien. The right of

a seller of goods to reclaim goods under section 546(c) of the Bankruptcy Code is not a Prior Lien,

as used herein, and is expressly subject to the DIP Liens. The DIP Liens are continuing liens and

the DIP Collateral is and will continue to be encumbered by such liens.

       I.      The DIP Lender, the Debtors, and the Prepetition Secured Parties acknowledge the

dispute between the Debtors and the Prepetition Secured Parties in the adversary proceeding

captioned AVR AH LLC, et al. v. Nineteen77 Capital Solutions A LP, et al. pending in this court

under Adv. Pro. No. 23-9003 (the “Adversary Proceeding”), whereby the Debtors are seeking to,

among other things, disallow the Prepetition Secured Parties’ secured claims (the “Prepetition

Secured Claims”) and liens (the “Prepetition Liens”).         Nothing in this Order constitutes an

admission of any defect in the Prepetition Secured Claims or the Prepetition Liens or impairs or

otherwise impacts or affects the validity or extent of the Prepetition Secured Claims and

Prepetition Liens, and all parties rights with respect to the validity or extent of the Prepetition

Secured Claims and Prepetition Liens are expressly reserved and preserved.

       J.      The Prepetition Secured Parties raised objections to the proposed DIP Loan and

this Order memorializes a settlement of those objections, including the Prepetition Secured Parties’

objection filed at Docket No. 155.

       Based upon the foregoing findings and conclusions, the Motion, and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      Motion Granted. The relief sought in the Motion is granted, and the DIP Financing
                                                  6
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 7 of 88




is authorized and approved, in each case as set forth herein, subject to the terms and conditions set

forth in this DIP Order and the other DIP Documents. All objections to the Motion and this DIP

Order to the extent not withdrawn, waived, settled, or resolved are hereby denied and overruled on

the merits.

       2.      Authorization of the DIP Financing and the DIP Documents. The Debtors are

hereby authorized to execute, deliver, enter into, and, as applicable, perform all of their obligations

under the DIP Documents and such other and further acts as may be necessary, appropriate or

desirable in connection therewith. The Debtors are authorized to comply with and perform all of

the terms and conditions contained in the DIP Documents, and directed to repay amounts

borrowed, together with interest and fees thereon, as well as any other outstanding DIP Obligations

to the DIP Lender in accordance with and subject to the terms and conditions set forth in the DIP

Documents and this DIP Order.

       3.      Authorization to Borrow.       Upon entry of this DIP Order and finalizing and

executing the DIP Credit Agreement and the other DIP Documents, the Debtors are immediately

authorized to borrow from the DIP Lender initial borrowings under the DIP Financing in the

amount set forth in the Initial Budget and any other Approved Budget. The Debtors are authorized

to use the proceeds of the DIP Financing only in accordance with, and for the purposes described

in, this DIP Order and the Approved Budget (subject to any permitted variances). The Debtors

may not borrow under the DIP Financing amounts in excess of those set forth in the Initial Budget

or Approved Budget.

       4.      DIP Obligations. Upon execution and delivery of the DIP Documents, the DIP

Documents constitute legal, valid, binding, and non-avoidable obligations of the Debtors,

enforceable against each Debtor and their estates in accordance with the terms of this DIP Order



                                                  7
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 8 of 88




and the DIP Documents, and any successors thereto, including any trustee appointed in the Chapter

11 Cases, or in any case under chapter 7 of the Bankruptcy Code upon the conversion of any of

the Chapter 11 Cases, or in any other proceedings superseding or related to any of the foregoing.

Upon execution and delivery of the DIP Documents, the DIP Obligations shall include all loans

and any other indebtedness or obligations, contingent or absolute, which may now or from time to

time be owing by either of the Debtors to the DIP Lender under the DIP Documents (including

this DIP Order). The Debtors shall be jointly and severally liable for the DIP Obligations. Except

as permitted by this DIP Order, no obligation, payment, transfer, or grant of security hereunder or

under the other DIP Documents to the DIP Lender shall be stayed, restrained, voidable, avoidable,

or recoverable, under the Bankruptcy Code or under any applicable law (including, without

limitation, under any of sections 502(d), 544 and 547 to 550 of the Bankruptcy Code or under any

similar applicable state statute or common law), or subject to any defense, avoidance, reduction,

setoff, recoupment, offset, recharacterization, subordination (whether equitable, contractual, or

otherwise), disallowance, impairment, claim, counterclaim, cross-claim, or any other challenge

under the Bankruptcy Code or any applicable law or regulation by any person or entity.

       5.      Carve-Out.

               (a)     As used in this DIP Order, the term “Carve-Out” means the sum of: (i) all

fees required to be paid to the Clerk of the Court and to the U.S. Trustee under section 1930(a) of

title 28 of the United States Code plus interest at the statutory rate, if any, pursuant to 31 U.S.C. §

3717 (without regard to the notice set forth in (iii) below); (ii) all reasonable and documented fees

and expenses up to $25,000 incurred by a trustee under section 726(b) of the Bankruptcy Code

(without regard to the notice set forth in (iii) below); (iii) subject, in each case, to the amounts set

forth in the Initial Budget or any Approved Budget and to application of any retainers that may be



                                                   8
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 9 of 88




held, and to the extent allowed at any time, whether by interim order, procedural order, final order

or otherwise, all unpaid fees and expenses of persons or firms retained by the Debtors or the

Creditors’ Committee (if any) pursuant to section 327, 328, 363, or 1103 of the Bankruptcy Code

(collectively, the “Estate Professionals”) (in each case, other than any restructuring, sale, success,

or other transaction fee of any investment bankers or financial advisors) (the “Allowed

Professional Fees”) incurred at any time before the first business day following delivery by the

DIP Lender of a Carve-Out Trigger Notice (as defined herein), subject to the Approved Budget,

whether allowed by the Court prior to or after delivery of a Carve-Out Trigger Notice (the amounts

set forth in this clause (iii), the “Pre-Carve-Out Trigger Notice Cap”); and (iv) Allowed

Professional Fees of Estate Professionals in an aggregate amount not to exceed $50,000 incurred

on or after the first business day following delivery by the DIP Lender of a Carve-Out Trigger

Notice, to the extent allowed at any time, whether by interim order, procedural order, final order

or otherwise (the amount set forth in this clause (iv), the “Post-Carve-Out Trigger Notice Cap”

and, together with the Pre-Carve-Out Trigger Notice Cap and the amounts set forth in clauses (i)

through (ii), the “Carve-Out Cap”); provided that, nothing herein shall be construed to impair the

ability of any party to object to the fees, expenses, reimbursement, or compensation described in

this paragraph 5(a) on any grounds.

               (b)     Notwithstanding anything to the contrary in this DIP Order or the other DIP

Documents, following delivery of a Carve-Out Trigger Notice, the DIP Lender shall not sweep or

foreclose on cash (including cash received as a result of the sale or other disposition of any assets)

of the Debtors until such amounts owed pursuant to the Carve-Out are paid in full.

               (c)     For purposes of the foregoing, “Carve-Out Trigger Notice” shall mean a

written notice delivered by email by the DIP Lender to the Debtors, their counsel, the U.S. Trustee,



                                                  9
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 10 of 88




the Prepetition Secured Parties, and counsel to the Creditors’ Committee (if any), which notice

may only be delivered following the occurrence and during the continuation of an Event of Default

(as defined in the DIP Credit Agreement) stating that the Post-Carve-Out Trigger Notice Cap has

been invoked.

                (d)    The DIP Lender shall not be responsible for the direct payment or

reimbursement of any fees or expenses of any Estate Professionals incurred in connection with the

Chapter 11 Cases or any Successor Case under any chapter of the Bankruptcy Code, regardless of

whether payment of such fees or disbursement has been allowed by the Court. Nothing in this DIP

Order or otherwise shall be construed to obligate the DIP Lender in any way to pay compensation

to or reimburse expenses of any Estate Professional, or to guarantee that the Debtors have sufficient

funds to pay such compensation or expense reimbursement.

       6.       Budget Maintenance. The Debtors shall be permitted to use the proceeds of the

DIP Financing solely for the purposes set forth in the Approved Budget, and only up to the

respective aggregate amount of disbursements set forth in the Approved Budget for any week

during the term of this DIP Order, subject to the permitted Variance (as defined below). The

Debtors may not use, sell, or expend, directly or indirectly, the proceeds of the DIP Financing

except pursuant to the Approved Budget, subject to the permitted Variance and upon the terms and

conditions set forth in this DIP Order. The Approved Budget shall be updated, modified, or

supplemented by the Debtors from time to time, but in any event, and upon written request to

counsel for the Debtors, the Approved Budget shall be updated by the Debtors and delivered to

the DIP Lender and the Prepetition Secured Parties on or before the Friday ending every

consecutive four (4) week period. Such amended budget will be deemed accepted unless the DIP

Lender timely provides written notice setting forth a specific objection to the new budget within



                                                 10
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 11 of 88




three (3) business days of service of the proposed amended budget by the Debtors. In the event of

a disagreement between the DIP Lender and the Debtors regarding any updated, modified, or

supplemented budget, the most recent Approved Budget will continue to stay in place and the

Debtors may continue to use proceeds of the DIP Financing in accordance with such Approved

Budget and this DIP Order unless and until an updated, modified, or supplemented budget is

approved by, and is in a form and substance satisfactory to both the Debtors and the DIP Lender.

        7.     Budget Compliance. The Debtors shall at all times comply with the Approved

Budget, subject to an allowed cumulative variance of less than or equal to twenty percent (20%)

in the aggregate of the expense line items set forth on the Approved Budget (the “Variance”). On

or before 5:00 p.m. (prevailing Central Time) beginning with the first Friday following the entry

of this DIP Order and each Friday thereafter, the Debtors shall prepare and deliver to the DIP

Lender a Variance report setting forth in reasonable detail actual cash receipts and disbursements

for the prior week.

        8.     Section 506(c) Waiver. Retroactive to the Petition Date, no costs or expenses of

administration which have been or may be incurred in these Chapter 11 Cases at any time

(including, without limitation, any costs and expenses incurred in connection with the preservation,

protection, or enhancement of the Prepetition Secured Lenders’ Collateral) shall be charged against

the Prepetition Secured Lenders or the Prepetition Secured Lenders’ Collateral pursuant to sections

105 or 506(c) of the Bankruptcy Code or otherwise without the prior express written consent of

the Prepetition Secured Lenders, in their sole discretion, and no such consent shall be implied,

directly or indirectly, from any other action, inaction, or acquiescence by any such agents or

creditors.




                                                11
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 12 of 88




       9.      DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy Code,

subject to the Carve-Out, all of the DIP Obligations shall constitute allowed superpriority

administrative expense claims against the Debtors on a joint and several basis (without the need to

file any proof of claim) with priority over any and all claims against the Debtors (except the DIP

Superpriority Claims shall be junior to the Prepetition Secured Claims, with respect to rights

against any collateral on which the Prepetition Liens are asserted, unless and until there is a final

resolution of the Adversary Proceeding determining that the Prepetition Secured Parties liens

and/or claims are invalid, disallowed, avoided, released or set to be set aside), now existing or

hereafter arising, of any kind whatsoever, including, without limitation, all administrative expenses

of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code and any and all

administrative expenses or other claims arising under section 105, 326, 327, 328, 330, 331, 365,

503(b), 506(c), 507(a), 507(b), 726, 1113 or 1114 of the Bankruptcy Code, whether or not such

expenses or claims may become secured by a judgment lien or other non-consensual lien, levy or

attachment, which allowed claims (the “DIP Superpriority Claims”) shall, for purposes of

section 1129(a)(9)(A) of the Bankruptcy Code, be considered administrative expenses allowed

under section 503(b) of the Bankruptcy Code, and which DIP Superpriority Claims shall be

payable from and have recourse to all prepetition and postpetition property of the Debtors and all

proceeds thereof (excluding claims and causes of action under section 502(d), 544, 545, 547, 548,

549, 550 or 553 of the Bankruptcy Code, or any other avoidance actions under the Bankruptcy

Code and any proceeds or property recovered, unencumbered or otherwise from such claims and

causes of action, whether by judgement, settlement, or otherwise, (collectively, “Avoidance

Actions”) in accordance with this DIP Order and the other DIP Documents. The DIP Superpriority

Claims shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the event



                                                 12
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 13 of 88




that this DIP Order or any provision hereof or thereof is vacated, reversed or modified, on appeal

or otherwise.

       10.      DIP Liens. As security for the DIP Obligations, effective and automatically and

properly perfected upon the date of this DIP Order and without the necessity of the execution,

recordation or filing by the Debtors or the DIP Lender of mortgages, security agreements, control

agreements, pledge agreements, financing statements, intellectual property filing, or other similar

documents, any notation of certificates of title for titled goods or other similar documents,

instruments, deeds, charges or certificates, or the possession or control by the DIP Lender of, or

over, any collateral, without any further action by the DIP Lender, the following valid, binding,

continuing, enforceable, and non-avoidable security interests and liens (all security interests and

liens granted to the DIP Lender pursuant to this DIP Order and the other DIP Documents, the “DIP

Liens”) are hereby granted to the DIP Lender:

                (a)    Liens on Unencumbered Property. Pursuant to section 364(c)(2) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, fully perfected first-priority senior

security interest (subject to the Carve-Out) in and lien upon all tangible and intangible prepetition

and postpetition property of the Debtors or their estates, whether existing on the Petition Date or

thereafter acquired, and the proceeds, products, rents, and profits thereof, that, on or as of the

Petition Date is not subject to (i) a valid, perfected, and non-avoidable lien held by a creditor that

has a valid claim against such Debtor’s estate or (ii) a valid and non-avoidable lien in existence as

of the Petition Date that is perfected subsequent to the Petition Date as permitted by section 546(b)

of the Bankruptcy Code held by a creditor that has a valid claim against such Debtor’s estate (such

liens described in clause (i) and (ii), collectively, “Prior Liens”) including, without limitation, any

and all unencumbered cash of the Debtors and any investment of cash, inventory, accounts



                                                  13
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 14 of 88




receivable, accounts, investment property, other rights to payment whether arising before or after

the Petition Date, contracts, properties, plants, fixtures, machinery, equipment, general intangibles,

documents, instruments, securities, goodwill, causes of action, insurance policies and rights,

claims and proceeds from insurance, commercial tort claims and claims that may constitute

commercial tort claims (known and unknown), chattel paper (including electronic chattel paper

and tangible chattel paper), interests in leaseholds, real properties, deposit accounts, patents,

copyrights, trademarks, trade names, rights under license agreements and other intellectual

property, equity interests of subsidiaries, joint ventures and other entities, wherever located, and

the proceeds, products, rents and profits of the foregoing, whether arising under section 552(b) of

the Bankruptcy Code or otherwise (the “DIP Collateral”). The DIP Collateral expressly excludes

Avoidance Actions and the proceeds of Avoidance Actions.

                  (b)   Liens Subordinate to Certain Other Liens. Pursuant to section 364(c)(3) of

the Bankruptcy Code, a valid, binding, continuing, enforceable, fully perfected security interest in

and lien upon the DIP Collateral, which lien shall be: (i) junior and subordinate to the Carve-Out

and (ii) immediately junior and subordinate to any Prior Liens. Until and unless there is a final

resolution of the Adversary Proceeding determining that the Prepetition Secured Parties do not

hold Prior Liens or that such Prior Liens are otherwise disallowed, avoided, released or set aside,

the liens of the Prepetition Secured Parties shall be deemed Prior Liens for the purposes of this

Order, provided that all of the Debtors’ and other parties’ rights and claims in the Adversary

Proceeding, and such parties’ rights and claims to otherwise challenge such liens and claims, are

fully reserved.

                  (c)   Liens Senior to Certain Other Liens. The DIP Liens shall not be subject or

subordinate to or made pari passu with (i) any lien or security interest that is avoided and preserved



                                                 14
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 15 of 88




for the benefit of the Debtors or their estates under section 551 of the Bankruptcy Code, (ii) unless

otherwise provided for in this DIP Order or the other DIP Documents, any liens or security interests

arising after the Petition Date, including, without limitation, any liens or security interests granted

in favor of any federal, state, municipal or other governmental unit (including any regulatory

body), commission, board or court for any liability of the DIP Loan Parties, or (iii) any other lien

or security interest under section 361, 363 or 364 of the Bankruptcy Code.

               (d)     For the avoidance of doubt, the DIP Liens granted pursuant to this Order

shall not “prime,” and shall be immediately junior and subordinate to, any Prior Liens on the DIP

Collateral, including any Prior Liens that may be held by the Prepetition Secured Parties. To the

extent, however, that any such liens and/or claims of the Prepetition Secured Parties are determined

not to be Prior Liens and/or are otherwise disallowed, avoided, released, or set aside, the DIP Liens

and DIP Obligations shall be first priority liens and claims on all of the DIP Collateral including,

without limitation, the Ranch.

       11.     Perfection of DIP Liens.

               (a)     Without in any way limiting the automatically valid and effective perfection

of the DIP Liens granted pursuant to paragraph 10 of this DIP Order, the DIP Lender is hereby

authorized, but not required, to file or record (and to execute in the name of the Debtors, as their

true and lawful attorneys, with full power of substitution, to the maximum extent permitted by

law) financing statements, trademark filings, copyright filings, mortgages, notices of lien or similar

instruments in any jurisdiction, or take possession of securities, or to amend or modify security

documents, or enter into intercreditor agreements, or to subordinate existing liens and any other

similar action in connection therewith in a manner not inconsistent herewith or take any other

action in order to document, validate and perfect the liens and security interests granted to them



                                                  15
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 16 of 88




hereunder the (“Perfection Actions”). Whether or not the DIP Lender takes such Perfection

Actions, such liens and security interests granted are deemed valid, perfected, allowed,

enforceable, non-avoidable, and not subject to challenge, dispute or subordination, at the time and

on the date of entry of this DIP Order. Upon the request of the DIP Lender, the Debtors, without

any further consent of any party, and at the sole cost of the Debtors as set forth herein, are hereby

authorized to take, execute, deliver and file such actions, instruments and agreements (in each case,

without representation or warranty of any kind) to enable the DIP Lender to further validate,

perfect, preserve, and enforce the DIP Liens in all jurisdictions required under the DIP Credit

Agreement, including all local law documentation therefor determined to be reasonably necessary

by the DIP Lender. All such documents will be deemed to have been recorded and filed as of the

Petition Date.

                 (b)    A certified copy of this DIP Order may be filed with or recorded in filing or

recording offices in addition to or in lieu of such financing statements, mortgages, notices of lien

or similar instruments by the DIP Lender, and all filing offices are hereby authorized and directed

to accept a certified copy of this DIP Order for filing and/or recording, as applicable. The

automatic stay shall be modified to the extent necessary to permit the DIP Lender to take all

actions, as applicable, referenced in this subparagraph (b) and the immediately preceding

subparagraph (a).

       12.       Protection of DIP Lender’s Rights.

                 (a)    To the extent any entity has possession of any DIP Collateral or has control

with respect to any DIP Collateral, or has been noted as a secured party on any certificate of title

for a titled good constituting DIP Collateral, then such entity shall be deemed to maintain such

possession or notation or exercise such control as a gratuitous bailee and/or gratuitous agent for



                                                 16
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 17 of 88




perfection for the benefit of the DIP Lender, and such entity, as applicable, shall comply with the

instructions of the DIP Lender with respect to such notation or the exercise of such control or

possession.

               (b)     Upon the occurrence and during the continuation of an Event of Default (as

defined in the DIP Credit Agreement) that has not been waived by the DIP Lender and following

delivery of written notice (a “Termination Notice”) (including by e-mail), on not less than five

(5) business days’ notice (such five (5) business day period, the “Remedies Notice Period”) to

counsel for the Debtors, the Prepetition Secured Parties, the Creditors’ Committee (if any), and

the U.S. Trustee, (the “Remedies Notice Parties”), the DIP Lender may (and any stay otherwise

applicable to the DIP Lender, whether arising under section 105 or 362 of the Bankruptcy Code or

otherwise, but subject to the terms of this DIP Order (including this paragraph) is hereby modified

for such purpose), without further notice to, hearing of, or order from this Court, to: (i) terminate

the DIP Facility and any DIP Document as to any future liability or obligation of the DIP Lender

but without affecting any of the DIP Obligations or the DIP Liens securing such DIP Obligations;

(ii) declare all DIP Obligations to be immediately due and payable; and (iii) invoke the right to

charge interest at the default rate under the DIP Documents, which shall be an interest rate equal

to the Contract Rate plus three percent (3%) per annum (the “Default Rate”). Upon delivery of

such Termination Notice by the DIP Lender, without further notice or order of the Court, the

Debtors’ ability to incur additional DIP Obligations hereunder will, subject to the expiration of the

Remedies Notice Period and unless the Court orders otherwise, automatically terminate and the

DIP Lender will have no obligation to provide any DIP Loans or other financial accommodations.

As soon as reasonably practicable following receipt of a Termination Notice, the Debtors shall file

a copy of same on the docket. During the Remedies Notice Period, the Debtors, the Creditors’



                                                 17
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 18 of 88




Committee (if appointed), or any party in interest shall be entitled to seek an emergency hearing

with the Court for the purpose of contesting whether, in fact, an Event of Default has occurred and

is continuing. If a request for such hearing is made prior to the end of the Remedies Notice Period,

then the Remedies Notice Period shall be continued until the Court hears and rules with respect

thereto.

               (c)     During the continuation of an Event of Default and following the delivery

of a Termination Notice, but prior to exercising the remedies set forth in this sentence below or

any other remedies (other than those set forth in paragraph 12(b)), the DIP Lender shall be required

to file a motion with the Court seeking emergency relief (the “Stay Relief Motion”) on not less

than five (5) business days’ notice to the Remedies Notice Parties (which may run concurrently

with the Remedies Notice Period) for a further order of the Court modifying the automatic stay in

the Chapter 11 Cases to permit the DIP Lender to, subject to the Carve-Out and related provisions:

(i) freeze or sweep monies or balances in the Debtors’ accounts; (ii) enforce any and all rights

against the DIP Collateral, including, without limitation, foreclosure on all or any portion of the

DIP Collateral, occupying the Debtors’ premises, or sale or disposition of the DIP Collateral; and

(iii) take any other actions or exercise any other rights or remedies permitted under this DIP Order,

the DIP Documents, or applicable law; provided that (i) the DIP Lender shall not seek to enforce

remedies against the DIP Collateral until and unless there is a final resolution of the Adversary

Proceeding determining that the Prepetition Secured Parties do not hold Prior Liens and/or that

such Prior Liens are otherwise disallowed, avoided, released or set aside; and (ii) the Debtors’ and

the Prepetition Secured Parties’ rights to contest any such relief are reserved. The rights and

remedies of the DIP Lender specified herein are cumulative and not exclusive of any rights or

remedies that the DIP Lender has under the DIP Documents or otherwise. If the DIP Lender is



                                                 18
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 19 of 88




permitted by the Court to take any enforcement action with respect to the DIP Collateral following

the hearing on the Stay Relief Motion, the Debtors shall cooperate with the DIP Lender in its

efforts to enforce its security interest in the DIP Collateral, and shall not take or direct any person

or entity to take any action designed or intended to hinder or restrict in any respect the DIP Lender

from enforcing its security interests in the DIP Collateral. Until such time that the Stay Relief

Motion has been adjudicated by the Court, the Debtors may use the proceeds of the DIP Facility

to the extent drawn prior to the occurrence of Event of Default to fund operations in accordance

with the Approved Budget and the terms of the DIP Documents.

               (d)     As additional protection for the DIP Lender, the Debtors shall pursue a sale

(the “Sale Transaction”) of the Ranch pursuant to the following milestones (the “Milestones”).

The Milestones may be extended upon the mutual agreement of the Debtors and the DIP Lender.

Unless waived in writing by the DIP Lender (and subject to the requirements of the Court’s order

approving bidding procedures relating to the Ranch, including, without limitation, the Prepetition

Secured Parties consultation rights thereunder), a failure by the Debtors to comply with the

Milestones shall constitute an Event of Default under the terms of the DIP Credit Agreement:

               i.      Not later than October 3, 2023, an auction for the Ranch shall have occurred
                       or been completed, unless such auction is canceled pursuant to the terms of
                       the Bidding Procedures Order.

               ii.     Not later than October 6, 2023, the Court shall have entered the Sale Order.

               iii.    Not later than 15 days following after entry of the Sale Order, the Sale
                       Transaction shall have closed.

               (e)     During the Chapter 11 cases, as additional protection of the DIP Lender’s

rights, all reasonable and documented fees, costs, expenses, and charges, including, without

limitation, attorneys’ fees and expenses, that are incurred by Hunton Andrews Kurth LLP as

counsel to the DIP Lender incurred after the Petition Date (collectively, the “DIP Lender


                                                  19
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 20 of 88




Professional Fees and Expenses”) may be charged by the DIP Lender and shall be paid by the

Debtors out of any DIP Facility advances. The Debtors are hereby authorized to pay such DIP

Lender Professional Fees and Expenses without notice, motion, or application to, order of, or

hearing before the Court. All DIP Lender Professional Fees and Expenses shall be paid within ten

(10) calendar days of delivery of an invoice in summary form (which shall not be required to

include time entry detail and may be redacted for privileged information) to counsel for the

Debtors, the Creditors’ Committee (if any), and the U.S. Trustee (collectively, the “DIP Lender

Fees and Expenses Remedies Notice Parties”. If any of the DIP Lender Fees and Expenses

Remedies Notice Parties object to the reasonableness of such fees and expenses and cannot resolve

such objection within five (5) business days of service of such invoice(s), such DIP Lender Fees

and Expenses Remedies Notice Party shall file and serve upon the DIP Lender an objection with

the Bankruptcy Court (a “Fee Objection”) limited to the issue of the reasonableness of the

disputed fees and expenses within ten (10) calendar days of the delivery of such invoice(s). If the

DIP Lender Fees and Expenses Remedies Notice Parties do not object to the reasonableness of

such fees and expenses within ten (10) calendar days of service of an invoice, any objection of the

DIP Lender Fees and Expenses Remedies Notice Parties with respect to such invoice shall be

waived. In the event the DIP Lender Fees and Expenses Remedies Notice Parties timely file a Fee

Objection, the Debtors shall pay the undisputed portion of such invoice(s) subject to a Fee

Objection within ten (10) calendar days of service of such invoice(s). All DIP Lender Professional

Fees and Expenses shall constitute obligations under the DIP Facility, shall be secured by the DIP

Collateral, and afforded all priorities and protections afforded to the DIP Lender under this DIP

Order and the DIP Documents. Hunton Andrews Kurth LLP shall not be required to comply with

the U.S. Trustee fee guidelines or file applications or motions with, or obtain approvals of, the



                                                20
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 21 of 88




Court for the payment of any of its fees or out-of-pocket expenses (other than with respect to

disputed amounts).

       13.     DIP Lender Proofs of Claim Not Required. Notwithstanding anything to the

contrary contained in any prior or subsequent order of the Court, the DIP Lender shall not be

required to file a proof of claim in the Chapter 11 Cases for any claim allowed herein in or

otherwise in relation to the DIP Credit Agreement or the DIP Documents.

       14.     Prohibition on Additional Liens. Except as provided in the DIP Documents or this

DIP Order, the Debtors shall be enjoined and prohibited from, at any time during the Chapter 11

Cases until such time as the DIP Obligations have been indefeasibly paid in full, granting liens on

or security interests in the DIP Collateral or any portion thereof to any other entities, pursuant to

section 364(d) of the Bankruptcy Code or otherwise, which liens are junior to, senior to, or pari

passu with the DIP Liens.

       15.     Payments Free and Clear. Any and all payments or proceeds remitted to the

DIP Lender pursuant to the provisions of this DIP Order, the other DIP Documents, or any

subsequent order of the Court shall be irrevocable, received free and clear of any claim, charge,

assessment or other liability, including without limitation, any such claim or charge arising out of

or based on, directly or indirectly, section 506(c) or 552(b) of the Bankruptcy Code, whether

asserted or assessed by through or on behalf of the Debtors.

       16.     Reimbursement of Advances. The advances made to the Debtors by the DIP Lender

after the Petition Date to fund the Debtors’ operating expenses in the amount of $642,934.00 shall

be treated as administrative expenses of the Debtors’ estates, shall be part of the DIP Obligations,

and shall be reimbursed pursuant to the DIP Documents and the Approved Budget




                                                 21
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 22 of 88




       17.     Disposition of DIP Collateral. The Debtors shall not sell, transfer, lease, encumber

or otherwise dispose of any portion of the DIP Collateral, except as otherwise permitted by the

DIP Documents.

       18.     Subsequent Reversal or Modification. This DIP Order is entered pursuant to, inter

alia, section 364 of the Bankruptcy Code, and Bankruptcy Rule 4001(c), granting the DIP Lender

all protections afforded by section 364(e) of the Bankruptcy Code. If any or all of the provisions

of this DIP Order are hereafter reversed, modified, vacated, or stayed, that action will not affect

(i) the validity of any obligation, indebtedness or liability incurred hereunder by the Debtors to the

DIP Lender prior to the date of receipt by the DIP Lender of written notice of the effective date of

such action, (ii) the payment of any fees required under this DIP Order or the DIP Documents, or

(iii) the validity and enforceability of any lien, claim, obligation, right, remedy or priority

authorized or created under this DIP Order or pursuant to the DIP Documents as of such date.

       19.     Indemnification. Without limitation to any other right to indemnification, the DIP

Lender shall be and hereby is indemnified as provided in the DIP Documents, as applicable. The

Debtors agree that no exception or defense in contract, law, or equity exists as of the date of this

DIP Order to any obligation set forth, as the case may be, in this paragraph 19 or otherwise in the

DIP Documents to indemnify and/or hold harmless any DIP Secured Party or any Prepetition

Secured Party, as the case may be, and any such defenses are hereby waived.

       20.     Order Governs. In the event of any inconsistency between the provisions of this

DIP Order and the DIP Documents, the provisions of this DIP Order shall govern.

Notwithstanding the relief granted in any other order by this Court, (a) all payments and actions

by any of the Debtors pursuant to the authority granted therein shall be subject to this DIP Order,

including compliance with the Approved Budget (subject to permitted variances) and all other



                                                 22
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 23 of 88




terms and conditions hereof, and (b) to the extent there is any inconsistency between the terms of

such other order and this DIP Order, this DIP Order shall control, in each case, except to the extent

expressly provided otherwise in such other order.

       21.     Modifications of the Approved Budget. Without further order of the Court, the

Debtors and the DIP Lender are hereby authorized to implement, in accordance with the terms

hereof and upon the consent of the DIP Lender in its reasonable discretion and subject to the

Prepetition Secured Parties’ consultation rights, any modifications to the Approved Budget with

such modification being in writing.

       22.     Chief Restructuring Officer Authority. The Debtors’ Chief Restructuring Officer,

Douglas J. Brickley (the “CRO”), shall have exclusive decision-making authority on behalf of the

Debtors with respect to all matters related to the DIP Facility, including without limitation, the

negotiation of this DIP Order and amendments thereto, request for borrowings thereunder and the

use of proceeds thereof, compliance with the covenants (including reporting covenants), and any

agreement of the Debtors to any amendments, waivers or modifications of the DIP Documents

(including all budgets) shall be vested solely in the CRO.

       23.     Adequate Protection. Nothing herein shall limit or impair the Prepetition Secured

Parties’ right to seek adequate protection in these cases, pursuant to sections 361 and 363 of the

Bankruptcy Code, or the Debtors’ or any other parties’ rights to contest such request and all rights

of the Prepetition Secured Parties to seek adequate protection are without prejudice to this DIP

Order and expressly reserved.

       24.     Binding Effect; Successors and Assigns.        The DIP Documents, including the

provisions of this DIP Order, including all findings herein, shall be binding upon all parties in

interest in these Chapter 11 Cases, including, without limitation, the DIP Lender, any statutory or



                                                 23
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 24 of 88




non-statutory committees appointed or formed in these Chapter 11 Cases, the Debtors, and their

respective successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter

appointed or elected for the estate of any of the Debtors, an examiner appointed pursuant to section

1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal representative of any of

the Debtors or with respect to the property of the estate of any of the Debtors) and shall inure to

the benefit of the DIP Lender and the Debtors and their respective successors and assigns; provided

that the DIP Lender shall have no obligation to permit the use of the DIP Collateral by, or to extend

any financing to, any chapter 7 trustee, chapter 11 trustee, or similar responsible person appointed

for the estates of the Debtors.

       25.     Release. Effective as of the date of entry of this DIP Order, each of the Debtors

and the Debtors’ estates, on its own behalf and on behalf of its and their respective past, present

and future predecessors, successors, heirs, subsidiaries, and assigns, hereby absolutely,

unconditionally and irrevocably releases and forever discharges and acquits the DIP Lender and

each of its subsidiaries, affiliates, officers, directors, managers, principals, employees, agents,

financial advisors, attorneys, accountants, investment bankers, consultants, representatives and

other professionals and the respective successors and assigns thereof, in each case in their

respective capacity as such, (collectively, the “Released Parties”) from any and all obligations

and liabilities to the Debtors (and their successors and assigns) and from any and all claims,

counterclaims, demands, defenses, offsets, debts, accounts, contracts, liabilities, actions and causes

of action of any kind, nature or description, whether matured or unmatured, known or unknown,

asserted or unasserted, foreseen or unforeseen, accrued or unaccrued, suspected or unsuspected,

liquidated or unliquidated, pending or threatened, arising in law or equity, upon contract or tort or

under any state or federal law or otherwise, in each case arising out of or related to (as applicable)



                                                 24
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 25 of 88




the DIP Documents, the negotiation thereof, or of the transactions and agreements reflected

thereby, or the financial or other obligations owing or made thereunder, in each case that the

Debtors at any time had, now have or may have, or that their predecessors, successors or assigns

at any time had or hereafter can or may have against any of the Released Parties for or by reason

of any act, omission, matter, cause or thing whatsoever arising at any time on or prior to the date

of this DIP Order. For the avoidance of doubt, (i) nothing in this release shall relieve the DIP

Lender or the Debtors of their obligations under the DIP Documents; (ii) nothing herein shall

release any claims held by the Prepetition Secured Parties; and (iii) nothing herein shall release

any claims against the DIP Lender for any claim, act or omission occurring after the entry of this

DIP Order.

       26.     Exculpation. Nothing in this DIP Order or the DIP Documents shall in any way be

construed or interpreted to impose or allow the imposition upon the DIP Lender of any liability for

any claims arising from the prepetition or postpetition activities of the Debtors in the operation of

their businesses, or in connection with their restructuring efforts. The DIP Lender shall not, in any

way or manner, be liable or responsible for (a) the safekeeping of the DIP Collateral, (b) any loss

or damage thereto occurring or arising in any manner or fashion from any cause, (c) any diminution

in the value thereof, or (d) any act or default of any carrier, servicer, bailee, custodian, forwarding

agency or other person, and all risk of loss, damage or destruction of the DIP shall be borne by the

Debtors.

       27.     Limitation of Liability. In determining to make any loan or other extension of credit

under the DIP Documents, to permit the use of the DIP Collateral or in exercising any rights or

remedies as and when permitted pursuant to this DIP Order, the DIP Documents, or any other

documents related to the transactions contemplated hereby, the DIP Lender shall not (a) have any



                                                  25
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 26 of 88




liability to any third party or be deemed to be in “control” of the operations of the Debtors; (b) owe

any fiduciary duty to the Debtors, their respective creditors, shareholders or estates; or (c) be

deemed to be acting as a “Responsible Person” or “Owner” or “Operator” or “managing agent”

with respect to the operation or management of any of the Debtors (as such terms or similar terms

are used in the United States Comprehensive Environmental Response, Compensation and

Liability Act, 42 U.S.C. §§ 9601, et seq., as amended, or any other federal or state statute, including

the Internal Revenue Code).

       28.       Notwithstanding anything to the contrary in the DIP Credit Agreement or the DIP

Order (including without limitation paragraphs 25-27 above), the Prepetition Secured Parties shall

not be deemed to have provided any releases to, or waived any claims against, any party (including

the Released Parties or the Debtors), and all rights, remedies, claims and defenses of the Prepetition

Secured Parties are expressly reserved.

       29.       Miscellaneous. The DIP Documents shall be modified prior to Closing to reflect

the following:

                 a.     The upfront fee set forth in Article 2.4 of the DIP Credit Agreement is
                        waived and shall not constitute a DIP Obligation.

                 b.     Pursuant to Article 2.8 of the DIP Credit Agreement, any proceeds from
                        insurance claims shall be held by the Debtors pending the final disposition
                        of the Adversary Proceeding or further order of the Court.

                 c.     Any advances made by the DIP Lender pursuant to Article 2.9 shall not
                        exceed five percent (5%) of the total DIP Financing unless otherwise
                        authorized by further Court order.

       30.       Effectiveness. Notwithstanding Bankruptcy Rule 4001(a)(3) and 6004(h), any

Bankruptcy Local Rule or Rule 62(a) of the Federal Rules of Civil Procedure, this DIP Order shall

be immediately effective and enforceable upon its entry and there shall be no stay of execution or

effectiveness of this DIP Order.


                                                  26
      Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 27 of 88




         31.   Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this DIP Order.

         32.   Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, and 6004, in each

case to the extent applicable, are satisfied by the contents of the DIP Motion.

         33.   No Third-Party Rights. Except as explicitly provided for herein, this DIP Order

does not create any rights for the benefit of any third party, creditor, equity holder or any direct,

indirect or incidental beneficiary.

         34.   Necessary Action. The Debtors and the DIP Lender are authorized to take all

reasonable actions as are necessary or appropriate to implement the terms of this DIP Order. In

addition, the automatic stay is modified to permit affiliates of the Debtors who are not debtors in

these Chapter 11 Cases to take all actions as are necessary or appropriate to implement the terms

of this DIP Order.

         35.   Retention of Jurisdiction.    The Court shall retain jurisdiction to enforce the

provisions of this DIP Order, and this retention of jurisdiction shall survive the confirmation and

consummation of any chapter 11 plan for any one or more of the Debtors notwithstanding the

terms or provisions of any such chapter 11 plan or any order confirming any such chapter 11 plan.


Dated:                          , 2023
         Houston, Texas
           August 02,
          September    2019
                     27, 2023
                                              HONORABLE CHRISTOPHER LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




                                                 27
Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 28 of 88




                       EXHIBIT A
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 29 of 88

                                                                DRAFT 9/8/2023




                       SECURED DEBTOR-IN-POSSESSION
                       TERM LOAN CREDIT AGREEMENT

                                    AMONG

                            AVR AH, LLC,
                       STRUDEL HOLDINGS, LLC,
   EACH AS DEBTOR AND DEBTOR-IN-POSSESSION UNDER CHAPTER 11 OF THE
                         BANKRUPTCY CODE,
                           AS BORROWERS

                                      AND

                             AJAX HOLDINGS, LLC,
                                 AS LENDER

                               September [__], 2023




14169224
         Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 30 of 88




                                                    TABLE OF CONTENTS

                                                                                                                                      Page

ARTICLE I DEFINITIONS AND INTERPRETATION ............................................................... 1
 1.1   Terms Defined Above ......................................................................................................1
 1.2   Additional Defined Terms ...............................................................................................2
 1.3   Undefined Financial Accounting Terms ........................................................................13
 1.4   References ......................................................................................................................13
 1.5   Articles and Sections......................................................................................................14
 1.6   Number and Gender .......................................................................................................14
 1.7   Incorporation of Schedules and Exhibits .......................................................................14
 1.8   Negotiated Transaction ..................................................................................................14

ARTICLE II TERMS OF DIP FACILITY ................................................................................... 14
 2.1   Term Loans ....................................................................................................................14
 2.2   Use of Loan Proceeds ....................................................................................................15
 2.3   Repayment of Term Loans.............................................................................................15
 2.4   Fees ................................................................................................................................15
 2.5   Outstanding Amounts ....................................................................................................15
 2.6   Taxes and Time, Place, and Method of Payments .........................................................15
 2.7   Voluntary Prepayments ..................................................................................................17
 2.8   Mandatory Prepayments ................................................................................................17
 2.9   Loans to Satisfy Obligations of Borrowers ....................................................................18
 2.10 General Provisions Relating to Interest .........................................................................18
 2.11 Yield Protection .............................................................................................................19
 2.12 Security Interest in Accounts; Right of Offset ...............................................................20
 2.13 Illegality .........................................................................................................................20
 2.14 Regulatory Change.........................................................................................................20
 2.15 Joint and Several Liability .............................................................................................20
 2.16 Termination of the DIP Facility .....................................................................................21
 2.17 Priority and Liens. ..........................................................................................................21
 2.18 Payment of Obligations..................................................................................................23

ARTICLE III CONDITIONS ....................................................................................................... 23
 3.1   Conditions of the Closing Date ......................................................................................23
 3.2   Conditions to All Term Loans .......................................................................................25

ARTICLE IV REPRESENTATIONS AND WARRANTIES ..................................................... 26
 4.1   Due Authorization ..........................................................................................................26
 4.2   Existence ........................................................................................................................26
 4.3   Valid and Binding Obligations ......................................................................................27
 4.4   Security Documents .......................................................................................................27
 4.5   Title to the Property .......................................................................................................27
                                                                    -i-


DMS 303644570v6
14169224
         Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 31 of 88




   4.6        No Material Adverse Effect or Default ..........................................................................27
   4.7        No Material Misstatements ............................................................................................27
   4.8        [Intentionally Omitted] ..................................................................................................27
   4.9        Authorizations; Consents ...............................................................................................27
   4.10       Compliance with Laws ..................................................................................................28
   4.11       ERISA ............................................................................................................................28
   4.12       Environmental Laws ......................................................................................................28
   4.13       Compliance with Federal Reserve Regulations .............................................................28
   4.14       Investment Company Act Compliance ..........................................................................28
   4.15       Proper Filing of Tax Returns; Payment of Taxes Due ...................................................28
   4.16       Casualties or Taking of Property ...................................................................................28
   4.17       Location of the Borrowers .............................................................................................29
   4.18       Compliance with Anti-Terrorism Laws .........................................................................29
   4.19       Bankruptcy Order...........................................................................................................30
   4.20       Budget ............................................................................................................................30
   4.21       Anti-Bribery and Anti-Corruption .................................................................................30

ARTICLE V AFFIRMATIVE COVENANTS ............................................................................. 31
 5.1   Maintenance and Access to Records..............................................................................31
 5.2   Financial Reporting ........................................................................................................31
 5.3   Notices of Certain Events ..............................................................................................31
 5.4   Tax Returns ....................................................................................................................32
 5.5   Additional Information ..................................................................................................32
 5.6   Compliance with Laws ..................................................................................................32
 5.7   Payment of Assessments and Charges ...........................................................................32
 5.8   Maintenance of Existence or Qualification and Good Standing ....................................33
 5.9   Payment of the Note; Performance of Obligations ........................................................33
 5.10 Further Assurances.........................................................................................................33
 5.11 Initial Expenses of the Lender .......................................................................................33
 5.12 Subsequent Expenses of the Lender ..............................................................................33
 5.13 Maintenance and Inspection of Properties .....................................................................34
 5.14 Maintenance of Insurance ..............................................................................................34
 5.15 Environmental Indemnification .....................................................................................34
 5.16 General Indemnification ................................................................................................35
 5.17 Budget Variance Report, Cash Forecasts & Lender Conference Calls. ........................35
 5.18 Certain Other Bankruptcy Orders ..................................................................................36
 5.19 Certain Case Milestones ................................................................................................36

ARTICLE VI NEGATIVE COVENANTS .................................................................................. 36
 6.1   Indebtedness ...................................................................................................................36
 6.2   Liens ...............................................................................................................................37
 6.3   Sales of Assets ...............................................................................................................37
 6.4   Leasebacks .....................................................................................................................37
 6.5   Loans or Advances .........................................................................................................37
                                                                     - ii -


DMS 303644570v6
14169224
         Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 32 of 88




   6.6        Investments ....................................................................................................................37
   6.7        Dividends and Distributions ..........................................................................................37
   6.8        Issuance of Equity; Changes in Corporate Structure .....................................................37
   6.9        Transactions with Affiliates and Certain Other Person .................................................37
   6.10       Lines of Business ...........................................................................................................38
   6.11       Plan Obligation ..............................................................................................................38
   6.12       Anti-Terrorism Laws .....................................................................................................38
   6.13       Amendment of Material Contracts.................................................................................38
   6.14       Deposit Accounts ...........................................................................................................38
   6.15       Organizational Documents.............................................................................................38
   6.16       Capital Expenditures ......................................................................................................38
   6.17       Prepayments of Certain Indebtedness ............................................................................38
   6.18       Budget Variances ...........................................................................................................39
   6.19       Use of Proceeds..............................................................................................................39
   6.20       Additional Bankruptcy Matters......................................................................................39

ARTICLE VII EVENTS OF DEFAULT ..................................................................................... 40
 7.1   Enumeration of Events of Default .................................................................................40
 7.2   Remedies ........................................................................................................................43

ARTICLE VIII MISCELLANEOUS ........................................................................................... 44
 8.1   Assignments; Participations ...........................................................................................44
 8.2   Survival of Representations, Warranties, and Covenants ..............................................45
 8.3   Notices and Other Communications ..............................................................................45
 8.4   Parties in Interest............................................................................................................46
 8.5   Rights of Third Parties ...................................................................................................46
 8.6   Renewals; Extensions ....................................................................................................46
 8.7   No Waiver; Rights Cumulative......................................................................................47
 8.8   Survival Upon Unenforceability ....................................................................................47
 8.9   Amendments; Waivers ...................................................................................................47
 8.10 Controlling Agreement ..................................................................................................47
 8.11 Disposition of Collateral ................................................................................................47
 8.12 Governing Law ..............................................................................................................47
 8.13 Forum Selection and Consent to Non-Exclusive Jurisdiction; Waiver of Jury Trial. ...47
 8.14 Integration ......................................................................................................................49
 8.15 Waiver of Punitive and Consequential Damages...........................................................49
 8.16 Counterparts ...................................................................................................................49
 8.17 USA Patriot Act Notice .................................................................................................49
 8.18 Tax Shelter Regulations .................................................................................................49
 8.19 Inconsistencies with Other Documents ..........................................................................50




                                                                   - iii -


DMS 303644570v6
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 33 of 88




LIST OF SCHEDULES

Schedule 4.5(B)   –   Real Property




                                      - iv -


DMS 303644570v6
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 34 of 88




                            SECURED DEBTOR-IN-POSSESSION
                            TERM LOAN CREDIT AGREEMENT

        This     SECURED DEBTOR-IN-POSSESSION TERM CREDIT                              LOAN
AGREEMENT is dated as of September [__] 2023, by and among AVR AH LLC, a Colorado
limited liability company (“AVR”), and STRUDEL HOLDINGS LLC, a Texas limited liability
company (“Strudel”), each a Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy
Code (each a “Borrower” and, collectively, the “Borrowers”), and AJAX HOLDINGS LLC, a
Colorado limited liability company (“Lender”).

                                 PRELIMINARY STATEMENTS

        WHEREAS, on July 27, 2023 (the “Petition Date”), AVR and Strudel filed voluntary petitions
with the Bankruptcy Court (such entities filing such petitions, together with any other Affiliates that
become debtors in the Cases, are hereinafter referred to as the “Debtors”), initiating their respective
cases that are pending under Chapter 11 of the Bankruptcy Code (the case of each Debtor, each, a
“Case” and collectively, the “Cases”);

      WHEREAS, the Debtors have continued in the possession of their assets and in the
management of their business pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

        WHEREAS, for their general working capital and other corporate needs, the Borrowers have
requested the Lender provide a multiple delayed draw term loan facility denominated in Dollars in the
aggregate principal amount at any time outstanding not in excess of $3,700,000.00 (the “DIP Facility”);

        WHEREAS, the Lender is willing to extend such credit to the Borrowers on the terms and
subject to the conditions set forth herein;

        WHEREAS, the priority of the DIP Facility with respect to the Collateral shall be as set forth
in the Order, upon entry thereof by the Bankruptcy Court and in the Security Documents;

        WHEREAS, all of the claims and the Liens granted under the Order and the Loan Documents
to the Lender and for the benefit of the Lender in respect of the DIP Facility shall be subject to the
Carve-Out; and

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged by the parties hereto, such parties hereby agree as follows:

                                             ARTICLE I

                            DEFINITIONS AND INTERPRETATION

        1.1    Terms Defined Above. As used in this Agreement, each of the terms “Borrower,”
“AVR,” “Case,” “Cases,” “Debtors,” “DIP Facility,” “Lender,” “Petition Date” and “Strudel,”
shall have the meaning assigned to such term hereinabove.




DMS 303644570v6
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 35 of 88




       1.2     Additional Defined Terms. As used in this Agreement, each of the following terms
shall have the meaning assigned thereto in this Section 1.2 or in Sections referred to in this
Section 1.2, unless the context otherwise requires:

              “Additional Amount” shall have the meaning set forth for such term in Section 2.6.

               “Additional Costs” shall mean costs which are attributable to the obligation of the
       Lender to maintain the Term Loans, or any reduction in any amount receivable by the
       Lender in respect of any such obligation or any Term Loan, resulting from any Regulatory
       Change which (a) changes the basis of taxation of any amounts payable to the Lender under
       this Agreement or any Note in respect of any Term Loan (other than taxes imposed on the
       overall net income of the Lender or its lending office (including franchise or similar taxes)
       for the Term Loans), or (b) imposes any other condition affecting this Agreement or any
       Note or any of such extensions of credit, liabilities or Commitments, in each case with
       respect to the Term Loans.

                “Affiliate” shall mean, as to any Person, any other Person directly or indirectly,
       controlling, or under common control with, such Person and includes, as to the Borrowers,
       any Subsidiary of the Borrowers and any “affiliate” of the Borrowers within the meaning
       of Rule 12b-2 promulgated by the Securities and Exchange Commission pursuant to the
       Securities Exchange Act of 1934, with “control,” as used in this definition, meaning
       possession, directly or indirectly, of the power to direct or cause the direction of
       management, policies or action through ownership of voting securities, contract, voting
       trust, or membership in management or in the group appointing or electing management or
       otherwise through formal or informal arrangements or business relationships.

               “Agreement” shall mean this Secured Debtor-In-Possession Term Loan Credit
       Agreement, as it may be amended, supplemented, restated, or otherwise modified from
       time to time.

               “Anti-Corruption and Anti-Bribery Laws” means anti- corruption statutes of all
       jurisdictions (including, the Foreign Corrupt Practices Act of 1977, the OECD Convention
       on Bribery of Foreign Public Officials in International Business Transactions, and any
       similar national or local law or regulation in the United Kingdom or elsewhere where any
       of the Borrowers and any Subsidiary conducts business), the rules and regulations
       thereunder and any related or similar rules, regulations or guidelines, issued, administered
       or enforced by any governmental agency or any such jurisdiction.

              “Anti-Terrorism Laws” shall mean any laws relating to terrorism or money
       laundering, including Executive Order No. 13224 and the USA Patriot Act.

              “Approved Purposes” shall mean the Operating Disbursements, the Other
       Disbursements, and any disbursements approved by the Lender during the term of this
       Agreement.

               “Avoidance Actions” shall have the meaning assigned to such term in Section
       2.17(a).


                                               -2-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 36 of 88




              “Bankruptcy Code” shall mean the Federal Bankruptcy Reform Act of 1978 (11
       U.S.C. § 101, et seq.), as amended.

               “Bankruptcy Court” shall mean the United States Bankruptcy Court for the
       Southern District of Texas or any other court having jurisdiction over the Cases from time
       to time.

              “Bankruptcy Plan” shall mean any plan of reorganization or liquidation proposed
       under the Bankruptcy Code.

              “Blocked Person” shall have the meaning assigned to such term in Section 4.18.

              “Borrowing Request” shall mean a written borrowing request in the form of and
       substance satisfactory to the Lender.

               “Budget” shall mean the four (4) week rolling operating budget and cash flow
       forecast which shall reflect the good faith projection of the Borrowers in the cases of all
       weekly cash receipts and disbursements in connection with the operation of the Borrowers’
       business during such four (4) week period, including but not limited to, collections, payroll,
       capital expenditures and other major cash outlays, in form and substance satisfactory to the
       Lender in its sole discretion and certified by a Responsible Officer of the Borrowers in
       form and substance satisfactory to the Lender in its sole discretion.

               “Budget Variance Report” shall mean a report, in each case certified by a Financial
       Officer of the Borrowers, in form reasonably satisfactory to the Lender, delivered in
       accordance with Section 5.17(a), showing the amount, if any, by which projected cash
       receipts and expenditures set forth for the applicable week in the Budget exceed actual cash
       receipts and expenditures in such week, expressed as a percentage.

               “Business Day” shall mean any day other than a Saturday, Sunday, legal holiday
       for commercial banks under the laws of the State of Texas, or any other day when banking
       is suspended in the State of Texas.

                “Business Entity” shall mean a corporation, partnership, joint venture, limited
       liability company, joint stock association, business trust, or other business entity.

              “Capital Expenditures” shall have the meaning assigned to such term by GAAP.

                 “Carve-Out” shall mean the sum of (i) any fees required to be paid to the Clerk of
       the Court and to the U.S. Trustee under section 1930 of title 28 of the United States Code;
       (ii) all reasonable fees and expenses incurred by a trustee and payable under section 726(b)
       of the Bankruptcy Code, in an aggregate amount not to exceed $25,000 (iii) subject, in each
       case, to the Initial Budget or any successor Budget, to application of any retainers that may
       be held and to the extent allowed at any time, whether by interim order, procedural order,
       final order or otherwise, all unpaid fees and expenses of persons or firms retained by the
       Borrowers or the Creditors’ Committee (as defined in the Order) (if any) pursuant to
       section 327, 328, 363, or 1103 of the Bankruptcy Code (collectively, the “Estate
       Professionals”) (in each case, other than any restructuring, sale, success, or other

                                               -3-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 37 of 88




       transaction fee of any investment bankers or financial advisors) (the “Allowed Professional
       Fees”) incurred at any time before the first business day following delivery by the Lender
       of a Carve-Out Trigger Notice, subject in all respects to the Initial Budget or any successor
       Budget, whether allowed by the Court prior to or after delivery of a Carve-Out Trigger
       Notice (the amounts set forth in this clause (iii), the “Pre-Carve-Out Trigger Notice Cap”);
       and (iv) Allowed Professional Fees of Estate Professionals in an aggregate amount not to
       exceed $50,000 incurred on or after the first business day following delivery by the Lender
       of a Carve-Out Trigger Notice, to the extent allowed at any time, whether by interim order,
       procedural order, final order or otherwise (the amount set forth in this clause (iv), the “Post-
       Carve-Out Trigger Notice Cap” and, together with the Pre-Carve-Out Trigger Notice Cap
       and the amounts set forth in clauses (i) through (ii), the “Carve-Out Cap”); provided that,
       nothing herein shall be construed to impair the ability of any party to object to the fees,
       expenses, reimbursement, or compensation described in paragraph 5(a) of the Order on any
       grounds.

               Notwithstanding the foregoing, the Carve-Out shall not include, apply to or be
       available for any fees or expenses incurred by any party in connection with the
       investigation, initiation or prosecution of any claims, causes of action, adversary
       proceedings or other litigation against any of the Lender or its respective officers, directors,
       employees, agents, advisers and counsel, including, without limitation, challenging the
       amount, validity, perfection, priority or enforceability of or asserting any defense,
       counterclaim or offset to, the obligations and the liens and security interests granted under
       the Loan Documents in favor of the Lender.

               Subject to the Order, for the avoidance of doubt and notwithstanding anything to
       the contrary herein, or in any Loan Documents, the Carve-Out shall be senior to all liens
       and claims securing the Obligations and any and all other forms of adequate protection,
       liens or claims securing the Obligations.

              “Carve-Out Trigger Notice” shall mean the written notice delivered by the Lender
       to the Debtors, their lead counsel, the U.S. Trustee, and counsel to the Creditors’
       Committee (if any) which notice may be delivered following the occurrence and
       continuation of an Event of Default.

             “Change of Control” shall mean Charif Souki shall fail to own one hundred percent
       (100%) of the Equity Interests of each of the Borrowers.

              “Closing Date” shall mean the Effective Date of this Agreement.

              “Collateral” shall mean the Real Property and any other Property of any Person
       now or at any time used or intended as security for the payment or performance of all or
       any portion of the Obligations.

              “Commitment” shall mean the Lender’s obligation to make the Term Loans in an
       aggregate amount not exceeding $3,700,000.

               “Commonly Controlled Entity” shall mean any Person which is under common
       control with the Borrowers within the meaning of Section 4001 of ERISA.

                                                -4-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 38 of 88




             “Contract Rate” shall mean the sum of the (a) Prime Rate, plus (b) two percent
       (2.00%) per annum, but in no event shall such rate exceed, as to the Lender, the Highest
       Lawful Rate.

              “Creditors’ Committee” shall mean any official committee of unsecured creditors
       appointed by the Unites States Trustee pursuant to section 1102 of the Bankruptcy Code.

              “Default” shall mean any event or occurrence, which with the lapse of time or the
       giving of notice or both would become an Event of Default.

              “Default Rate” shall mean an interest rate equal to the Contract Rate plus five
       percent (5%) per annum, but in no event shall such rate exceed the Highest Lawful Rate.

              “Disbursement Date” shall mean the date upon which the Lender makes
       disbursements of the Term Loans to the Borrowers pursuant to the terms and conditions of
       this Agreement.

             “Dispute” shall mean any claim, dispute or controversy with respect to this
       Agreement or any other Loan Document.

             “Dollars” and “$” shall mean dollars in lawful currency of the United States of
       America.

               “Effective Date” shall mean the date on which the conditions specified in
       Section 3.1 are satisfied.

                “Entry Date” shall mean the date on which the Order is entered by the Bankruptcy
       Court.

               “Environmental Complaint” shall mean any written or oral complaint, order,
       directive, claim, citation, notice of environmental report or investigation, or other notice
       by any Governmental Authority or any other Person with respect to (a) air emissions,
       (b) spills, releases, or discharges to soils, any improvements located thereon, surface water,
       groundwater, or the sewer, septic, waste treatment, storage, or disposal systems servicing
       any Property of the Borrowers, (c) solid or liquid waste disposal, (d) the use, generation,
       storage, transportation, or disposal of any Hazardous Substance, or (e) other environmental,
       health, or safety matters affecting any Property of the Borrowers or the business conducted
       thereon.

                “Environmental Laws” shall mean (a) the following federal laws as they may be
       cited, referenced, and amended from time to time: the Clean Air Act, the Clean Water Act,
       the Safe Drinking Water Act, the Comprehensive Environmental Response, Compensation
       and Liability Act, the Endangered Species Act, the Resource Conservation and Recovery
       Act, the Hazardous Materials Transportation Act, the Occupational Safety and Health Act,
       the Oil Pollution Act, the Resource Conservation and Recovery Act, the Superfund
       Amendments and Reauthorization Act, and the Toxic Substances Control Act; (b) any and
       all equivalent environmental statutes of any state in which Property of any Borrower is
       situated, as they may be cited, referenced and amended from time to time; (c) any rules or

                                               -5-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 39 of 88




       regulations promulgated under or adopted pursuant to the above federal and state laws; and
       (d) any other equivalent federal, state, or local statute or any requirement, rule, regulation,
       code, ordinance, or order adopted pursuant thereto, including those relating to the
       generation, transportation, treatment, storage, recycling, disposal, handling, or release of
       Hazardous Substances.

               “Equity Interests” shall mean shares of capital stock, partnership interests,
       membership interests in a limited liability company, beneficial interests in a trust or other
       equity ownership interests in a Person, and any warrants, options or other rights entitling
       the holder thereof to purchase or acquire any such Equity Interest.

               “ERISA” shall mean the Employee Retirement Income Security Act of 1974, and
       the regulations thereunder and interpretations thereof.

              “Event of Default” shall mean any of the events specified in Section 7.1.

              “Excluded Assets” shall have the meaning assigned to such term in Section 2.17(d).

               “Excluded Taxes” shall mean, with respect to any and all payments to the Lender
       or any recipient of any payment to be made by or on account of any Obligation, net income
       taxes, branch profits taxes, franchises and excise taxes (to the extent imposed in lieu of net
       income taxes), and all interest, penalties and liabilities with respect thereto, imposed on the
       Lender.

              “Executive Order No. 13224” shall mean Executive Order No. 13224 on Terrorist
       Financing, effective September 24, 2001, as the same has been, or shall hereafter be,
       renewed, extended, amended or replaced.

              “Financial Officer” shall mean, for any Business Entity, the chief financial officer,
       principal accounting officer, treasurer, manager or controller of such Business Entity.

              “GAAP” shall mean generally accepted accounting principles established by the
       Financial Accounting Standards Board or the American Institute of Certified Public
       Accountants and in effect in the United States of America from time to time.

               “Governmental Authority” shall mean any nation, country, commonwealth,
       territory, government, state, county, parish, municipality, or other political subdivision and
       any entity exercising executive, legislative, judicial, regulatory, or administrative functions
       of or pertaining to government.

               “Hazardous Substances” shall mean flammables, explosives, radioactive materials,
       hazardous wastes, asbestos, or any material containing asbestos, polychlorinated biphenyls
       (PCBs), toxic substances or related materials, petroleum, petroleum products, associated
       oil or natural gas exploration, production, and development wastes, or any substances
       defined as “hazardous substances,” “hazardous materials,” “hazardous wastes,” or “toxic
       substances” under the Comprehensive Environmental Response, Compensation and
       Liability Act, the Superfund Amendments and Reauthorization Act, the Hazardous


                                                -6-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 40 of 88




       Materials Transportation Act, the Resource Conservation and Recovery Act, the Toxic
       Substances Control Act, or any other Requirement of Law.

                “Highest Lawful Rate” shall mean, the maximum non-usurious interest rate, if any
       (or, if the context so requires, an amount calculated at such rate), that at any time or from
       time to time may be contracted for, taken, reserved, charged or received under laws
       applicable to the Lender, as such laws are presently in effect or, to the extent allowed by
       applicable law, as such laws may hereafter be in effect and which allow a higher maximum
       non-usurious interest rate than such laws now allow.

               “Indebtedness” shall mean, as to any Person, without duplication, (a) all
       indebtedness for borrowed money; (b) all obligations issued, undertaken or assumed as the
       deferred purchase price of Property or services; (c) all unreimbursed material
       reimbursement or payment obligations with respect to letters of credit, banker’s
       acceptances and similar instruments; (d) all obligations evidenced by notes, bonds,
       debentures or similar instruments, including obligations so evidenced incurred in
       connection with the acquisition of Property, assets or businesses; (e) all indebtedness
       created or arising under any conditional sale or other title retention agreement, or incurred
       as financing, in either case with respect to Property acquired by the Person (even though
       the rights and remedies of the seller or bank under such agreement in the event of default
       are limited to repossession or sale of such Property); (f) all guaranty obligations in respect
       of indebtedness or obligations of others of the kinds referred to in clauses (a) through (e)
       above; and (g) all indebtedness referred to in clauses (a) through (f) above secured by (or
       for which the holder of such Indebtedness has an existing right, contingent or otherwise, to
       be secured by) any Lien upon or in Property (including accounts and contracts rights)
       owned by such Person, even though such Person has not assumed or become liable for the
       payment of such Indebtedness.

              “Indemnified Taxes” shall mean Taxes other than Excluded Taxes.

              “Indemnitee” shall have the meaning assigned to such term in Section 5.15.

               “Initial Budget” shall mean the Budget setting forth the projected financial
       operations of the Debtors for the 4-week period commencing with the week in which the
       Entry Date occurs, approved and in form and substance satisfactory to the Lender in its
       sole discretion.

              “Interest Payment Date” shall mean, with respect to any Term Loan, the first
       Business Day of each calendar month.

              “Investment” in any Person shall mean any stock, bond, note or other evidence of
       Indebtedness, or any other security (other than current trade and customer accounts) of,
       investment or partnership interest in or loan to, such Person.

               “Lien” shall mean any interest in Property securing an obligation owed to, or a
       claim by, a Person other than the owner of such Property, whether such interest is based
       on common law, statute, or contract, and including, but not limited to, the lien or security
       interest arising from a mortgage, ship mortgage, encumbrance, pledge, security agreement,

                                               -7-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 41 of 88




       conditional sale or trust receipt, or a lease, consignment, or bailment for security purposes
       (other than true leases or true consignments), liens of mechanics, materialmen, and artisans,
       maritime liens and reservations, exceptions, encroachments, easements, rights of way,
       covenants, conditions, restrictions, leases, and other title exceptions and encumbrances
       affecting Property which secure an obligation owed to, or a claim by, a Person other than
       the owner of such Property (for the purpose of this Agreement, the Borrowers shall be
       deemed to be the owner of any Property which it has acquired or holds subject to a
       conditional sale agreement, financing lease, or other arrangement pursuant to which title
       to the Property has been retained by or vested in some other Person for security purposes).

              “Limitation Period” shall mean, any period while any amount remains owing on
       the Note payable to the Lender and interest on such amount, calculated at the Contract
       Rate, plus any fees or other sums payable to the Lender under any Loan Document and
       deemed to be interest under applicable law, would exceed the amount of interest which
       would accrue at the Highest Lawful Rate.

              “Loan Balance” shall mean, at any point in time, the aggregate outstanding
       principal balance of the Term Loans at such time.

              “Loan Date” shall mean the Order Funding Date or any Funding Date, as context
       may require.

               “Loan Documents” shall mean this Agreement, the Note, the Security Documents,
       and all other documents and instruments now or hereafter delivered pursuant to the terms
       of or in connection with any of the foregoing, and all renewals and extensions of,
       amendments and supplements to, and restatements of, any or all of the foregoing from time
       to time in effect.

               “Material Adverse Effect” shall mean (a) any adverse effect on the business,
       operations, properties, liabilities or financial condition of the Borrowers and their
       Subsidiaries, on a consolidated basis, which increases, in any material respect, the risk that
       any of the Obligations will not be repaid as and when due, other than as customarily occurs
       as a result of events leading up to and following the commencement of a proceeding under
       Chapter 11 of the Bankruptcy Code and commencement of the Cases, (b) any material and
       adverse effect upon the Collateral, including any material and adverse effect upon the value
       or impairment of any Borrowers’ or any other Person’s ownership of any material portion
       of the Collateral, (c) any material adverse effect on the validity or enforceability of any
       Loan Document or (d) any material adverse effect on the rights or remedies of the Lender
       under an Loan Document.

             “Mortgages” shall mean, collectively, the deed or deeds of trust executed by the
       Borrowers to the Lender providing a lien on all Real Property owned or leased by the
       Borrowers.

               “Note” shall mean, collectively, the promissory note executed by the Borrowers
       and payable to the Lender in the face amount of the amount of the Term Loan, together
       with all renewals, extensions for any period, increases and rearrangements thereof.


                                               -8-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 42 of 88




               “Obligations” shall mean, without duplication of the same amount in more than one
       category, (a) all Indebtedness of the Borrowers under this Agreement and as evidenced by
       the Note, and (b) all other obligations and liabilities of the Borrowers to the Lender, now
       existing or hereafter incurred, under, arising out of or in connection with any other Loan
       Document.

             “O’Connor Defendants” shall mean Nineteen77 Capital Solutions A LP and
       Bermudez Mutari, Ltd.

             “OFAC” shall mean the Office of Foreign Assets Control of the United States of
       America Department of the Treasury, or any other any successor Governmental Authority.

              “Operating Account” shall mean the deposit account ending [____] maintained by
       one or more of the Borrowers with [_________], which deposit account shall be subject to
       a Deposit Account Control Agreement with shifting control among the applicable
       Borrower, financial institution counterparty and the Lender.

              “Operating Disbursements” shall mean disbursements for post-petition operating
       expenses and working capital needs of the Borrowers, including, but not limited to, those
       required to remain in, or return to compliance with the laws in accordance with 28 U.S.C.
       § 959, and such general and administrative expenses as are contained within the Initial
       Budget and any applicable successor Budget.

                “Order” shall mean an order of the Bankruptcy Court acceptable to the Lender
       authorizing the DIP Facility, on a final basis (as the same may be amended, supplemented
       or modified from time to time after entry thereof with the written consent of the Lender, in
       its sole discretion), approving this Agreement and entry into the Loan Documents, which
       Order shall, among other things (i) have been entered on such prior notice as approved in
       the Order, (ii) authorize the extensions of credit in respect of the DIP Facility, each in the
       amounts and on the terms set forth herein, (iii) grant the Superpriority Claim status and
       other Collateral and Liens, subject to the Lien subordination provisions of such order,
       referred to herein and in the other Loan Documents, and (iv) approve the payment by the
       Borrowers of the fees provided for herein.

              “Other Disbursements” shall mean disbursements other than Operating
       Disbursements, as are contained within the Initial Budget and any applicable successor
       Budget, including those to pay (i) interest, fees and expenses (including attorneys’ fees) to
       the Lender in accordance with the DIP Facility; (ii) to fund fees and expenses incurred in
       connection with the Sale Transaction; (iii) Professional Fees and expenses, (iv) income
       Taxes, (v) deposits made to utilities pursuant to an order of the Bankruptcy Court, (vi)
       checks outstanding on the Petition Date that are re-issued in accordance with an order of
       the Bankruptcy Court, and (vii) fees due the Office of the United States Trustee.

              “Other Taxes” shall mean any and all present or future stamp or documentary taxes
       or any other excise or property taxes, charges or similar levies arising from any payment
       made under any Loan Document or from the execution, delivery or enforcement of, or
       otherwise with respect to, any Loan Document.


                                               -9-
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 43 of 88




               “Permitted Liens” shall mean (a) Liens for taxes, assessments, or other
       governmental charges or levies not yet due or which (if foreclosure, distraint, sale, or other
       similar proceedings shall not have been initiated) are being contested in good faith by
       appropriate proceedings, and such reserve as may be required by GAAP shall have been
       made therefor, (b) Liens in connection with workers’ compensation, unemployment
       insurance or other social security (other than Liens created by Section 4068 of ERISA),
       old-age pension, employee benefits, or public liability obligations which are not yet due or
       which are being contested in good faith by appropriate proceedings, if such reserve as may
       be required by GAAP shall have been made therefor, (c) Liens in favor of vendors, carriers,
       warehousemen, repairmen, mechanics, workmen, materialmen, constructors, laborers,
       landlords or similar Liens arising by operation of law in the ordinary course of business in
       respect of obligations that are not yet due or which are being contested in good faith by
       appropriate proceedings, if such reserve as may be required by GAAP shall have been
       made therefor, (d) Liens securing leases of equipment, provided that, as to any particular
       lease, the Lien covers only the relevant leased equipment and secures only amounts which
       are not yet due and payable under the relevant lease or are being contested in good faith by
       appropriate proceedings and such reserve as required by GAAP shall have been made
       therefor, (e) Liens arising by operation of law which are not yet due and payable or are
       being contested in good faith by appropriate proceedings, if such reserve as may be
       required by GAAP shall have been made therefor, (f) Liens in favor of the Lender securing
       the Obligations and other Liens expressly permitted hereunder or in the Security
       Documents and (g) and any Permitted Prior Liens, including, as applicable, any such
       Permitted Prior Liens in favor of the O’Connor Defendants.

               “Permitted Prior Liens” shall have the meaning assigned to such term in Section
       2.17(a).

              “Person” shall mean an individual, corporation, partnership, limited liability
       company, trust, unincorporated organization, government, any agency or political
       subdivision of any government or any other form of entity.

                “Plan” shall mean, at any time, any employee benefit plan which is covered by Title
       IV of ERISA and in respect of which any Borrower, or any Commonly Controlled Entity
       is (or, if such plan were terminated at such time, would under Section 4069 of ERISA be
       deemed to be) an “employer” as defined in Section 3(5) of ERISA.

               “Prime Rate” means, as of any date of determination, the rate of interest most
       recently published by The Wall Street Journal and designated as the “National Prime Rate”,
       as selected by the Lender, as of any date of determination (in this definition called the
       “Index”).

               “Principal Office” shall mean the principal office of the Lender or such other
       location as the Lender may designate from time to time.

              “Professional Fees” shall mean attorneys’ fees and expenses and the fees and
       expenses of any other professionals.



                                               - 10 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 44 of 88




              “Property” shall mean any interest in any kind of property or asset, whether real,
       personal or mixed, tangible or intangible.

               “Real Property” shall mean all of each Borrower’s right, title and interest in and to
       the “Aspen Valley Ranch” property as more particularly described on Schedule 4.5(B)
       hereto.

              “Receipts” shall mean all cash or other collections received from operations in the
       ordinary course of business, other than cash proceeds or collections from dispositions of
       Property, any insurance claims or the proceeds of any Term Loans.

                “Regulatory Change” shall mean, with respect to any Lender, the passage, adoption,
       institution, or amendment of any federal, state, local, or foreign Requirement of Law, or
       any interpretation, directive, or request (whether or not having the force of law) of any
       Governmental Authority or monetary authority charged with the enforcement,
       interpretation, or administration thereof, occurring after the Closing Date and applying to
       a class of lenders including the Lender.

                “Release of Hazardous Substances” shall mean any emission, spill, release,
       disposal, or discharge, except in accordance with a valid permit, license, certificate, or
       approval of the relevant Governmental Authority, of any Hazardous Substance into or upon
       (a) the air, (b) soils or any improvements located thereon, (c) surface water or groundwater,
       or (d) the sewer or septic system, or the waste treatment, storage, or disposal system
       servicing any Property of the Borrowers.

               “Requirement of Law” shall mean, as to any Person, the certificate or articles of
       incorporation and by-laws, the certificate or articles of organization and regulations,
       operating agreement or limited liability company agreement, the agreement of limited
       partnership or other organizational or governing documents of such Person, and any
       applicable law, treaty, ordinance, order, judgment, rule, decree, regulation or determination
       of an arbitrator, court or other Governmental Authority, including rules, regulations, orders
       and requirements for permits, licenses, registrations, approvals or authorizations, in each
       case as such now exist or may be hereafter amended and are applicable to or binding upon
       such Person or any of its Property or to which such Person or any of its Property is subject.

               “Responsible Officer” shall mean, as to any Business Entity, its President, any of
       its Vice Presidents, its Financial Officer, or any other Person duly authorized, in
       accordance with the applicable organizational documents, bylaws, regulations or
       resolutions, to act on behalf of such Business Entity.

               “Sale Transaction” means the prepetition marketing process and consummation of
       a sale of the Real Property pursuant to Section 363 of the Bankruptcy Code.

              “Sanctions” means any laws or regulations or restrictive measures relating to
       economic or financial sanctions or trade embargoes imposed, administered or enforced
       from time to time by a Sanctions Authority.



                                              - 11 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 45 of 88




                “Sanctions Authority” means (i) the United Nations Security Council; (ii) the
       United States government; (iii) the European Union; (iv) the United Kingdom government;
       (v) the respective governmental institutions and agencies of any of the foregoing, including
       without limitation, OFAC, the United States Department of State and Department of
       Commerce, and Her Majesty's Treasury; and (vi) any other governmental institution or
       agency with responsibility for imposing, administering or enforcing Sanctions with
       jurisdiction over the Borrower or any of its Subsidiaries.

             “SEC” shall mean the Securities and Exchange Commission or any successor
       Governmental Authority.

               “Security Documents” shall mean, collectively, (a) the security documents
       executed and delivered by the Borrowers securing the Obligations, including, without
       limitation, any deeds of trust, Mortgage, pledge agreement, security agreement, collateral
       agreement or deposit account control agreement, and (b) other documents and instruments
       at any time executed as security for all or any portion of the Obligations, as such
       instruments may be amended, supplemented, restated or otherwise modified from time to
       time.

               “Subsidiary” shall mean, as to any Person, any Business Entity of which shares of
       stock or other Equity Interests having ordinary voting power (other than stock having such
       power only by reason of the happening of a contingency) to elect a majority of the board
       of directors or other governing body or managers of such Business Entity are at the time
       owned, or the management of which is otherwise controlled, directly or indirectly through
       one or more intermediaries, or both, by such Person.

               “Superfund Site” shall mean those sites listed on the Environmental Protection
       Agency National Priority List and eligible for remedial action or any comparable state
       registries or list in any state of the United States of America.

               “Superpriority Claims” shall have the meaning assigned to such term in Section
       2.17(a).

              “Taxes” shall mean any and all present or future taxes, levies, imposts, duties, fees,
       deductions, charges or withholdings imposed by any Governmental Authority.

             “Term Loans” shall mean the loans made by the Lender to or for the benefit of the
       Borrowers pursuant to this Agreement.

               “Termination Date” shall mean, unless otherwise waived or extended in writing by
       the Lender, the earliest of (a) the closing of the Sale Transaction or another sale of the Real
       Property providing for the indefeasible payment in full in cash of the Obligations; (b) one
       hundred twenty (120) days after the Closing Date; (c) (i) the filing of a motion by the
       Borrowers seeking dismissal of the Cases, (ii) the dismissal of any of the Cases, (iii) the
       filing of a motion by the Borrowers seeking to convert the Cases to cases under Chapter 7
       of the Bankruptcy Code or (iv) the conversion of the Cases to cases under Chapter 7 of the
       Bankruptcy Code, (d) the effective date of a confirmed plan of reorganization or liquidation
       that provides for indefeasible payment in full, in cash of all obligations owing under the

                                               - 12 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 46 of 88




       DIP Facility or such treatment that is otherwise acceptable to the Lender in its sole
       discretion; (e) acceleration of the obligations under the DIP Facility; (f) the filing of a
       motion or other pleading requesting (or the entry of an order approving) the appointment
       of a trustee or an estate fiduciary or an examiner with special powers which the Debtors
       fail to timely oppose without the prior written consent of the Lender; (g) the filing or
       support by any Debtor of a plan of reorganization that (x) does not provide for indefeasible
       payment in full, in cash of all obligations owing under the DIP Facility and (y) is not
       otherwise acceptable to the Lender in its sole discretion.

               “Testing Date” shall have the meaning assigned to such term in Section 5.17(a).

              “Transfer” shall mean the issuance, sale, assignment, alienation, conveyance,
       divestment, transfer, disposition (including through a plan of division), hypothecation,
       mortgage or encumbrance of any ownership interest in any Borrower or in any entity
       having an ownership interest in any Borrower, whether direct or indirect) (or entering into
       any agreement or contract to do any of the foregoing that is not conditioned on compliance
       with the terms of the Loan Documents), or undertaking, suffering or causing any of the
       foregoing to occur voluntarily, involuntarily or by operation of law.

               “UCC” shall mean the Uniform Commercial Code as from time to time in effect in
       the State of Texas.

              “USA Patriot Act” shall mean the Uniting and Strengthening America by Providing
       Appropriate Tools required to Intercept and Obstruct Terrorism Act of 2001, Pub. L. No.
       107-56, 115 Stat. 272 (2001), as the same has been, or shall hereafter be, renewed,
       extended, amended or replaced.

       1.3    Undefined Financial Accounting Terms. Financial accounting terms used in this
Agreement without definition are used herein with the respective meanings assigned thereto in
accordance with GAAP at the time in effect.

        1.4     References. References in this Agreement to Schedule, Exhibit, Article or
Section numbers shall be to Schedules, Exhibits, Articles or Sections of this Agreement, unless
expressly stated to the contrary. References in this Agreement to “hereby,” “herein,” “hereinafter,”
“hereinabove,” “hereinbelow,” “hereof,” “hereunder” and words of similar import shall be to this
Agreement in its entirety and not only to the particular Schedule, Exhibit, Article or Section in
which such reference appears. Specific enumeration herein shall not exclude the general and, in
such regard, the terms “includes” and “including” used herein shall mean “includes, without
limitation,” or “including, without limitation,” as the case may be, where appropriate. Except as
otherwise indicated, references in this Agreement to statutes, sections or regulations are to be
construed as including all statutory or regulatory provisions consolidating, amending, replacing,
succeeding or supplementing the statute, Section or regulation referred to. References in this
Agreement to (i) a matter or item being “approved” “consented to” or words of similar import shall
mean such action is taken in writing and (ii) “writing” shall include printing, typing, lithography,
facsimile reproduction and other means of reproducing words in a tangible visible form.
References in this Agreement to agreements and other contractual instruments shall be deemed to
include all exhibits and appendices attached thereto and all subsequent amendments and other

                                               - 13 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 47 of 88




modifications to such instruments, but only to the extent such amendments and other modifications
are not prohibited by the terms of this Agreement. References in this Agreement to Persons include
their respective successors and permitted assigns.

        1.5     Articles and Sections. This Agreement, for convenience only, has been divided
into Articles and Sections; and it is understood that the rights and other legal relations of the parties
hereto shall be determined from this instrument as an entirety and without regard to the aforesaid
division into Articles and Sections and without regard to headings prefixed to such Articles or
Sections.

        1.6     Number and Gender. Whenever the context requires, reference herein made to the
single number shall be understood to include the plural; and likewise, the plural shall be understood
to include the singular. Definitions of terms defined in the singular or plural shall be equally
applicable to the plural or singular, as the case may be, unless otherwise indicated. Words denoting
sex shall be construed to include the masculine, feminine and neuter, when such construction is
appropriate; and specific enumeration shall not exclude the general but shall be construed as
cumulative.

       1.7   Incorporation of Schedules and Exhibits. The Schedules and Exhibits attached to
this Agreement are incorporated herein and shall be considered a part of this Agreement for all
purposes.

       1.8     Negotiated Transaction. Each party to this Agreement affirms to the others that it
has had the opportunity to consult, and discuss the provisions of this Agreement with, independent
counsel and fully understands the legal effect of each provision.

                                             ARTICLE II

                                    TERMS OF DIP FACILITY

        2.1     Term Loans.

                 (a)   Subject to the terms and conditions of this Agreement, the Lender agrees to
        make Term Loans (i) within one (1) Business Day following the Order Entry Date (such
        date the “Order Funding Date”, and such Term Loan made on the Order Funding Date, the
        “Order Funding Loan”) in an amount not to exceed $1,000,000; and (ii) whether one or
        more, following the Order Entry Date but prior to the Termination Date (each such date a
        “Funding Date”, and each such Term Loan made on a Funding Date, each a “Funding Date
        Loan”) in an aggregate amount, together with the Order Funding Loan, not to exceed the
        Lender’s Commitment. Any amount of the Order Funding Loan or any Funding Date Loan
        that is subsequently repaid or prepaid may not be re-borrowed. The Lender’s Commitment
        shall be permanently reduced without further action upon the making of any Term Loan by
        the Lender.

                 (b)     The Borrowers may request the Term Loans from the Lender by providing
        at least three (3) Business Days prior written notice thereof to the Lender, in the form of a
        Borrowing Request, including (i) the date of the requested disbursement (which shall be a
        Business Day), (ii) the principal amounts requested to be borrowed (which shall be in a

                                                 - 14 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 48 of 88




       principal amount of $200,000 or a whole multiple of $100,000 in excess thereof) and (iii)
       a Budget setting forth the basis for such Term Loan, which shall be subject to the Lender’s
       approval in accordance with paragraph 6 of the Order.

        2.2     Use of Loan Proceeds. The Borrowers shall use the proceeds of the Term Loans
solely for the following purposes (and to the extent identified in the Budget): (a) to fund Operating
Disbursements, (b) to fund Other Disbursements, (c) to fund any other purpose approved by the
Lender in its sole discretion, and (d) to fund any other purpose set forth in the Order or otherwise
directed by the Bankruptcy Court.

       2.3     Repayment of Term Loans.

              (a)     Principal. The Borrowers hereby agree to repay the outstanding principal
       amount of all Term Loans in full on the Termination Date, together with all other amounts
       due under this Agreement or the other Loan Documents.

               (b)      Interest. Each Term Loan shall bear interest on the principal amount thereof
       from the applicable Loan Date at a rate per annum equal to the Contract Rate payable in
       kind on each Interest Payment Date. Accrued cash interest on each Term Loan shall be
       paid in kind in arrears on each Interest Payment Date applicable to such Term Loan.
       Interest on past-due principal and, to the extent permitted by applicable law, past-due
       interest, shall accrue at the Default Rate and shall be payable upon demand by the Lender.
       Notwithstanding the foregoing, during the existence of any Event of Default, such interest
       shall be payable upon demand by the Lender. While any Event of Default exists or after
       acceleration, interest shall accrue and the Borrowers shall pay interest (after as well as
       before entry of judgment thereon to the extent permitted by law) on any amount payable
       by the Borrowers hereunder, at a per annum rate equal to the lesser of (A) the Default Rate
       and (B) the Highest Lawful Rate.

        2.4    Fees. The Borrowers shall pay to the Lender a non-refundable upfront payment
equal to $37,000, which payment shall be earned on the Closing Date and due and payable on the
Termination Date.

        2.5     Outstanding Amounts. The outstanding principal balance of the Note reflected by
the notations of the Lender on its records shall be deemed presumptive evidence of the principal
amount owing on such Note. The liability for payment of principal and interest evidenced by each
Note shall be limited to principal amounts actually advanced and outstanding pursuant to this
Agreement and interest on such amounts calculated in accordance with this Agreement. The
Lender shall maintain accounts in which it will record (i) the amount of each Term Loan made
hereunder; (ii) the amount of any principal or interest due and payable or to become due and
payable from the Borrowers to the Lender hereunder; and (iii) the amount of any sum received by
the Lender. The entries made in the accounts maintained pursuant to this paragraph shall be prima
facie evidence of the existence and amounts of the obligations therein recorded; provided that the
failure of the Lender to maintain such accounts or any error therein shall not in any manner affect
the obligations of the Borrowers to repay the Term Loans in accordance with their terms.

       2.6     Taxes and Time, Place, and Method of Payments.


                                               - 15 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 49 of 88




               (a)     All payments required pursuant to this Agreement or the Note shall be made
       without set-off or counterclaim in Dollars and in immediately available funds free and clear
       of, and without deduction for, any Indemnified Taxes or Other Taxes; provided, however
       that if any Borrower shall be required to deduct any Indemnified Taxes or Other Taxes
       from such payments, then (i) the sum payable shall be increased by the amount (the
       “Additional Amount”) necessary so that after making all required deductions (including
       deductions applicable to additional sums described in this Section 2.6(a)) the Lender
       receives an amount equal to the sum it would have received had no such deductions been
       made, (ii) each Borrower shall make any such deductions and (iii) each Borrower shall pay
       the full amount deducted to the relevant Governmental Authority in accordance with
       applicable law. In addition, to the extent not paid in accordance with the preceding
       sentence, each Borrower shall pay any Other Taxes to the relevant Governmental Authority
       in accordance with applicable law.

               (b)    The Borrowers, on a joint and several basis with any other Borrower, shall
       indemnify the Lender for Indemnified Taxes and Other Taxes payable by such Person,
       provided, however, that no Borrower shall be obligated to make payment to the Lender in
       respect of penalties, interest and other similar liabilities attributable to such Indemnified
       Taxes or Other Taxes if such penalties, interest or other similar liabilities are attributable
       to the gross negligence or willful misconduct of the Person seeking indemnification;
       provided further, that the Lender shall not be entitled to indemnification for Indemnified
       Taxes and Other Taxes paid by such Person more than nine months prior to the date the
       Lender gives notice and demand thereof to the Borrowers (except that, if the
       indemnification is based on a Regulatory Change giving rise to such Indemnified Taxes or
       Other Taxes the effect of which is retroactive, then the nine month period referred to above
       shall be extended to include the period of retroactive effect thereof).

               (c)     If the Lender shall become aware that it is entitled to claim a refund from a
       Governmental Authority in respect of Indemnified Taxes or Other Taxes paid by any
       Borrower pursuant to this Section 2.6, including Indemnified Taxes or Other Taxes as to
       which it has been indemnified by the Borrowers, or with respect to which any Borrower
       has paid Additional Amounts pursuant to the Loan Documents, it shall promptly notify the
       relevant Borrower of the availability of such refund claim and, if the Lender determines in
       good faith that making a claim for refund will not have an adverse effect to its taxes or
       business operations, it shall, within 10 days after receipt of a request by the Borrowers,
       make a claim to such Governmental Authority for such refund at the expense of the
       Borrowers. If the Lender receives a refund in respect of any Indemnified Taxes or Other
       Taxes paid by any Borrower pursuant to the Loan Documents, it shall within 30 days from
       the date of such receipt pay over such refund to the relevant Borrower (but only to the
       extent of Indemnified Taxes or Other Taxes paid pursuant to the Loan Documents,
       including indemnity payments made or Additional Amounts paid, by the relevant Borrower
       under this Section 2.6 with respect to the Indemnified Taxes or Other Taxes giving rise to
       such refund), net of all reasonable out of pocket expenses of the Lender, and without
       interest (other than interest paid by the relevant Governmental Authority with respect to
       such refund).



                                               - 16 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 50 of 88




               (d)      If the Lender is or becomes eligible under any applicable law, regulation,
       treaty or other rule to a reduced rate of taxation, or a complete exemption from withholding,
       with respect to Indemnified Taxes or Other Taxes on payments made to it by the Borrowers
       or any of them, the Lender shall, upon the request, and at the cost and expense, of the
       Borrowers, complete and deliver from time to time any certificate, form or other document
       demanded by the Borrowers, the completion and delivery of which are a precondition to
       obtaining the benefit of such reduced rate or exemption, provided that the taking of such
       action by the Lender would not, in the reasonable judgment of the Lender be
       disadvantageous or prejudicial to the Lender, or inconsistent with its internal policies or
       legal or regulatory restrictions. For any period with respect to which the Lender has failed
       to provide any such certificate, form or other document requested by any Borrower, the
       Lender shall not be entitled to any payment under this Section 2.6 in respect of any
       Indemnified Taxes or Other Taxes that would not have been imposed but for such failure.

               (e)     All payments by any Borrower hereunder shall be made not later than 12:00
       p.m., Houston, Texas time, on the date specified for payment under this Agreement to the
       Lender at the Principal Office in Dollars, in immediately available funds and shall be made
       without any set off, counterclaim or deduction whatsoever. Any payment received after
       12:00 p.m., Houston, Texas time, may, in the Lender’s discretion, be deemed to have been
       made on the next succeeding Business Day for all purposes. Except as provided to the
       contrary herein, if the due date of any payment hereunder or under any Note would
       otherwise fall on a day which is not a Business Day, such date shall be extended to the next
       succeeding Business Day, and interest shall be payable for any principal so extended for
       the period of such extension.

        2.7     Voluntary Prepayments. Subject to applicable provisions of this Agreement, the
Borrowers shall have the right to prepay the Loan Balance in full or in part without premium or
penalty; provided, however, that (x) the Borrowers shall give the Lender written notice of each
such prepayment no less than three (3) Business Days prior to prepayment, (y) the Borrowers shall
pay all accrued and unpaid interest on the amounts prepaid, and (z) no such prepayment shall serve
to postpone the repayment when due of any Obligation or any installments thereof. If any such
notice is given, the amount specified in such notice shall be due and payable on the date set forth
in such notice. Any prepayment under this Section 2.7(c) shall be applied to the Obligations in
the inverse order of maturity.

        2.8    Mandatory Prepayments. Unless otherwise ordered by the Bankruptcy Court, in
addition to payments in reduction of the Loan Balance provided for in Section 2.3, the Borrowers
shall immediately pay to the Lender, for application to reduce the amount of the payment due at
the Termination Date to repay the then existing Loan Balance in full all proceeds (net of reasonable
and customary transaction costs) from:

            (a)    the occurrence at any time when the Loan Balance exceeds the
       Commitment,

              (b)     the incurrence of any Indebtedness not permitted by the proviso to
       Section 6.1 (without waiving or modifying in any way remedies available to the Lender as


                                               - 17 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 51 of 88




       a result of any Event of Default arising from such incurrence of Indebtedness by any one
       or more of the Borrowers), and

               (c)     asset sales, whether or not permitted by the proviso in Section 6.3 (without
       waiving or modifying in any way remedies available to the Lender as a result of any Event
       of Default arising from such asset sales by any one or more of the Borrowers), and any
       insurance claim, except as to any proceeds allowed by the Lender to repair or replace
       damaged Property giving rise to the relevant insurance claim; provided that no prepayment
       shall be required pursuant to this Section 2.8(c) to the extent the net cash proceeds from
       such asset sales and insurance claims do not exceed $50,000 in a single transaction or
       related series of transactions or $150,000 in the aggregate for the term of this Agreement
       (and only such excess shall be required to be prepaid).

      The Borrowers shall provide one (1) Business Day’s prior written notice of any mandatory
prepayment required hereunder.

        2.9     Loans to Satisfy Obligations of Borrowers. Upon the occurrence and during the
continuation of a Default or an Event of Default, the Lender may, but shall not be obligated to,
make loans for the benefit of the Borrower or any of them and apply proceeds thereof to the
satisfaction of any condition, warranty, representation or covenant of any Borrowers contained in
this Agreement or any other Loan Document. Such loans shall be and shall bear interest at the
Contract Rate, subject, however, to the provisions of Section 2.3 regarding the accrual of interest
at the Default Rate, which provisions shall be applicable to any loan made for the benefit of one
or more of the Borrowers pursuant to the preceding sentence of this Section 2.9.

       2.10    General Provisions Relating to Interest.

               (a)      It is the intention of the parties hereto to comply strictly with the usury laws
       of the State of Texas and the United States of America. In this connection, there shall never
       be collected, charged or received on the sums advanced hereunder plus the amount of the
       original issue discount interest in excess of that which would accrue at the Highest Lawful
       Rate.

               (b)    Notwithstanding anything herein or in the Note to the contrary, during any
       Limitation Period, the interest rate to be charged on amounts evidenced by the Note shall
       be the Highest Lawful Rate, and the obligation, if any, of the Borrowers for the payment
       of fees or other charges deemed to be interest under applicable law shall be suspended.
       During any period or periods of time following a Limitation Period, to the extent permitted
       by applicable laws of the State of Texas or the United States of America, the interest rate
       to be charged hereunder shall remain at the Highest Lawful Rate until such time as there
       has been paid to each applicable Lender (i) the amount of interest in excess of that accruing
       at the Highest Lawful Rate that the Lender would have received during the Limitation
       Period had the interest rate remained at the otherwise applicable rate and (ii) all interest
       and fees otherwise payable to the Lender but for the effect of such Limitation Period.

              (c)    If, under any circumstances, the aggregate amounts paid on the Note or
       under this Agreement or any other Loan Document include amounts which by law are


                                                - 18 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 52 of 88




       deemed interest and which would exceed the amount permitted if the Highest Lawful Rate
       were in effect, the Borrowers stipulate that such payment and collection will have been and
       will be deemed to have been, to the extent permitted by applicable laws of the State of
       Texas or the United States of America, the result of mathematical error on the part of the
       Borrowers, the Lender; and the party receiving such excess shall promptly refund the
       amount of such excess (to the extent only of such interest payments in excess of that which
       would have accrued and been payable on the basis of the Highest Lawful Rate) upon
       discovery of such error by such party or notice thereof from the Borrowers. In the event
       that the maturity of any Obligation is accelerated, by reason of an election by the Lender
       or otherwise, or in the event of any required or permitted prepayment, then the
       consideration constituting interest under applicable laws may never exceed that payable on
       the basis of the Highest Lawful Rate, and excess amounts paid which by law are deemed
       interest, if any, shall be credited by the Lender on the principal amount of the Obligations,
       or if the principal amount of the Obligations shall have been paid in full, refunded to the
       Borrowers.

               (d)      All sums paid, or agreed to be paid, to the Lender for the use, forbearance
       and detention of the proceeds of any advance hereunder shall, to the extent permitted by
       applicable law, be amortized, prorated, allocated and spread throughout the full term hereof
       until paid in full so that the actual rate of interest is uniform but does not exceed the Highest
       Lawful Rate throughout the full term hereof.

       2.11    Yield Protection.

                (a)    The Borrowers shall pay to the Lender, from time to time on request, such
       amounts as the Lender may reasonably determine are necessary to compensate the Lender
       for any costs attributable to the maintenance by the Lender, pursuant to any Regulatory
       Change, of its interest in the Loan Balance, including costs attributable to the maintenance
       of capital in respect of its interest in the Loan Balance, as well as for any reduction of the
       rate of return on assets or equity of the Lender to a level below that which the Lender could
       have achieved but for such Regulatory Change.

               (b)     Determinations by the Lender for purposes of this Section 2.11 of the effect
       of any Regulatory Change on capital maintained, its costs or rate of return, its obligation
       to make and maintain its interest in the Loan Balance or on amounts receivable by it in
       respect of its interest of the Loan Balance or such other obligations and the additional
       amounts required to compensate the Lender under this Section 2.11 shall be conclusive,
       absent manifest error, provided that such determinations are made on a reasonable basis.
       The Lender shall furnish the Borrowers with a certificate setting forth in reasonable detail
       the basis and amount of any loss, cost or expense incurred as a result of any such event,
       and the statements set forth therein shall be conclusive, absent manifest error. The Lender
       shall notify the Borrowers, as promptly as practicable after the Lender obtains knowledge
       of any sums payable pursuant to this Section 2.11 and determines to request compensation
       therefor, of any event occurring after the Closing Date which will entitle the Lender to
       compensation pursuant to this Section 2.11. Any compensation requested by the Lender
       pursuant to this Section 2.11 shall be due and payable within 30 days of receipt by the
       Borrowers of any such notice.

                                                - 19 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 53 of 88




               (c)    The Lender agrees not to request, and the Borrowers shall not be obligated
       to pay, any sums payable pursuant to this Section 2.11 unless similar sums payable are also
       generally assessed by the Lender against other customers, if any, similarly situated where
       such customers are subject to documents providing for such assessment.

        2.12 Security Interest in Accounts; Right of Offset. As security for the payment and
performance of the Obligations, the Borrowers hereby transfer, assign and pledge to the Lender
and grant to the Lender a security interest in all funds of such Borrower now or hereafter or from
time to time on deposit with the Lender, with such interest of the Lender to be retransferred,
reassigned and/or released at the expense of the Borrowers upon payment in full and complete
performance by the Borrowers of all Obligations. All remedies as secured party or assignee of
such funds shall be exercisable by the Lender upon the occurrence of any Event of Default,
regardless of whether the exercise of any such remedy would result in any penalty or loss of interest
or profit with respect to any withdrawal of funds deposited in a time deposit account prior to the
maturity thereof. Furthermore, the Borrowers hereby grant to the Lender the right, exercisable at
such time as any Obligation shall mature, whether by acceleration of maturity or otherwise, of
offset or banker’s lien against all funds of such Borrowers now or hereafter or from time to time
on deposit with the Lender, regardless of whether the exercise of any such remedy would result in
any penalty or loss of interest or profit with respect to any withdrawal of funds deposited in a time
deposit account prior to the maturity thereof. If the foregoing provisions conflict with the
provisions of any of the Security Documents, the relevant provision of the relevant Security
Document shall control.

        2.13 Illegality. Notwithstanding any other provision of this Agreement, in the event that
it becomes unlawful for the Lender to maintain loans bearing interest at a rate determined by the
Lender to exceed the Highest Lawful Rate, then the Lender shall charge an interest rate with
respect to the Term Loans that will approximate the Contract Rate or Default Rate, as applicable,
that was initially agreed to in this Agreement by the parties hereto as reasonably determined by
the Lender such that the interest no longer Exceeds the Highest Lawful Rate.

         2.14 Regulatory Change. In the event that by reason of any Regulatory Change or any
other circumstance arising after the Closing Date affecting the Lender, the Lender (a) incurs
Additional Costs based on or measured by the excess above a level, as prescribed from time to
time by any Governmental Authority with jurisdiction, of the amount of a category of deposits or
other liabilities of the Lender which included deposits by reference to which the interest rate
applicable to the Loan Balance owed to the Lender is determined as provided in this Agreement
or a category of extensions of credit or other assets of the Lender or (b) becomes subject to
restrictions on the amount of such a category of liabilities or assets which it may hold, then, at the
election of the Lender with notice to the Borrowers, the obligation of the Lender to maintain loans
bearing interest at the Contract Rate shall be suspended until such time as such Regulatory Change
or other circumstance ceases to be in effect, and the Lender shall charge an interest rate with respect
to the Term Loans that will approximate the Contract Rate or Default Rate, as applicable, that was
initially agreed to in this Agreement by the parties hereto as reasonably determined by the Lender.

       2.15 Joint and Several Liability. The Borrowers acknowledge and agree that each
Borrower shall be jointly and severally liable for all obligations of the Borrowers or any of them
hereunder or under any other Loan Document.

                                                - 20 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 54 of 88




       2.16 Termination of the DIP Facility. The DIP Facility and the Commitments shall
terminate on the Termination Date.

       2.17   Priority and Liens.

               (a)     Each Borrower hereby covenants and agrees that, subject to Bankruptcy
       Court approval, the Order shall provide that its obligations hereunder and under the Loan
       Documents, including all Term Loans, shall, at all times: (i) pursuant to Section 364(c)(1)
       of the Bankruptcy Code, be entitled to joint and several super-priority administrative
       expense claim status in the case of each Borrower (the “Superpriority Claims”); (ii)
       pursuant to Section 364(c)(2) of the Bankruptcy Code, be secured by a valid, binding,
       continuing, enforceable perfected first priority security interest and Lien on the Collateral
       of each Borrower (A) to the extent such Collateral is not subject to valid, perfected and
       non-avoidable Liens as of the Petition Date and (B) excluding claims and causes of action
       under sections 502(d), 544, 545, 547, 548, 549, 550 or 553 of the Bankruptcy Code
       (collectively “Avoidance Actions”) but including any proceeds or property recovered,
       unencumbered or otherwise, from Avoidance Actions, whether by judgment, settlement or
       otherwise; and (iii) pursuant to Section 364(c)(3) of the Bankruptcy Code, be secured by a
       valid, binding, continuing, enforceable junior perfected security interest and Lien on the
       Collateral of each Borrower to the extent that such Collateral is subject to (A) valid,
       perfected and unavoidable Liens in favor of third parties that were in existence immediately
       prior to the Petition Date, subject as to priority to such Liens in favor of such third parties,
       or (B) valid and unavoidable Liens (or rights to such Liens) in favor of third parties that
       were in existence immediately prior to the Petition Date that were perfected subsequent to
       the Petition Date as permitted by Section 546(b) of the Bankruptcy Code, subject as to
       priority such Liens in favor of such third parties (the foregoing clauses (A) and (B) being
       referred to collectively as the “Permitted Prior Liens”), subject as to priority to such Liens
       in favor of such third parties ((i) through (iii) above, subject in each case to the Carve-Out
       and as set forth in the Order). For the avoidance of doubt, in accordance with and subject
       to the Order, any such foregoing Liens granted pursuant to the Order and the Loan
       Documents in favor of Lender shall not “prime,” and shall be immediately junior and
       subordinate to, any Permitted Prior Liens on the Collateral of each Borrower, including
       any Permitted Prior Liens that may be held by the O’Connor Defendants. To the extent,
       however, that any such liens or claims held by the O’Connor Defendants are determined
       by the Bankruptcy Court not to be Permitted Prior Liens or are otherwise disallowed,
       avoided, released, or set aside, such foregoing Liens granted pursuant to the Order and the
       Loan Documents in favor of Lender and the Obligations shall be first priority liens and
       claims on all of the Collateral of each Borrower, including, without limitation, the Real
       Property.

              (b)     Each Borrower hereby confirms and acknowledges that, subject to
       Bankruptcy Court approval and entry of the Order, (x) the Liens in favor of the Lender on
       behalf of and for the benefit of the Lender in the DIP Collateral (as defined in the Order),
       which includes, without limitation, all of such Borrower’s Real Property, shall be created
       and perfected without the recordation or filing in any land records or filing offices of any
       mortgage, deed of trust, assignment or similar instrument and (y) without limiting the
       foregoing clause (x), subject to Section 2.17(d) below, to secure the full and timely

                                                - 21 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 55 of 88




       payment and performance of the Obligations, each Borrower hereby MORTGAGES,
       GRANTS, BARGAINS, ASSIGNS, SELLS, CONVEYS and CONFIRMS, to the Lender,
       the Real Property, TO HAVE AND TO HOLD by the Lender, and such Borrower does
       hereby bind itself, its successors and assigns to WARRANT AND FOREVER DEFEND
       the title to such property, assets and interests unto the Lender.

               (c)      Subject to Bankruptcy Court approval and entry of the Order, all of the
       Liens described in this Section 2.17 shall be effective and perfected upon the Entry Date
       without the necessity of the execution, recordation of filings by the Debtors of mortgages,
       security agreements, control agreements, pledge agreements, financing statements or other
       similar documents, or the possession or control by the Lender of, or over, any Collateral,
       as set forth in the Order.

                (d)    Notwithstanding anything to the contrary herein, except as set forth in the
       Order, in no event shall the Collateral include (A) if and to the extent invoked pursuant to
       the Order, proceeds in an amount equal to the Carve-Out (provided that Collateral shall
       include residual interest in the Carve-Out), (B)(i) any General Intangibles (as defined in
       the UCC in effect in the State of Texas) or other rights arising under any contracts,
       instruments, licenses or other documents to the extent the grant, assignment, transfer,
       creation, attachment, perfection or enforcement of a security interest would (x) constitute
       a violation of a valid and enforceable restriction in favor of a third party on such grant,
       assignment, transfer, creation, attachment, perfection or enforcement, unless and until any
       required consents shall have been obtained, which the applicable Borrower shall use
       commercially reasonable efforts to obtain or (y) give any other party to such contract,
       instrument, license or other document a valid and enforceable right to terminate its
       obligations thereunder or to take any other default remedy thereunder, unless and until any
       required consents shall have been obtained, which the applicable Borrower shall use
       commercially reasonable efforts to obtain; provided, that in any event any money or other
       amounts due or to become due under any such General Intangible, contract, agreement,
       instrument or license shall not be Excluded Assets (as defined below) and (ii) any property
       to the extent that the Borrowers are prohibited from granting a security interest in, pledge
       of, or lien upon any such property by reason of (x) an existing and enforceable negative
       pledge provision to the extent such provision does not violate the terms of this Agreement,
       unless and until any required consents shall have been obtained, which the applicable
       Borrower shall use commercially reasonable efforts to obtain or (y) applicable law or
       regulation to which such Borrowers are subject, except (in the case of either of the
       foregoing clauses (ii)(x) and (ii)(y)) to the extent such restriction, termination right or
       prohibition is rendered unenforceable or ineffective under Sections 9-406, 9-407, 9-408 or
       9-409 of the UCC or other applicable law (including the Bankruptcy Code or any order of
       the Bankruptcy Court entered in connection with the Cases), and (C) Avoidance Actions
       (but including proceeds thereof) (the items referred to in clauses (A) through (C) above
       being collectively referred to as the “Excluded Assets”); provided that any proceeds of
       Excluded Assets (that do not otherwise constitute Excluded Assets) shall be Collateral.

              (e)      Unless the obligations hereunder and under the Loan Documents are
       indefeasibly paid in full in cash and completely satisfied, or the Lenders agree to such other
       treatment in its sole discretion, each of the Borrowers agree that (i) its obligations under

                                               - 22 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 56 of 88




       the Loan Documents shall not be discharged by the entry of an order confirming a
       Bankruptcy Plan (and each of the Borrowers, pursuant to Section 1141(d)(4) of the
       Bankruptcy Code, hereby waives any such discharge) and (ii) the Superpriority Claim
       granted to the Lender pursuant to the Order and the Liens granted to the Lender pursuant
       to the Order shall not be affected in any manner by the entry of an order confirming a
       Bankruptcy Plan.

       2.18   Payment of Obligations.

              (a)     Subject to Section 7.2, upon the maturity (whether by acceleration or
       otherwise) of any of the Obligations of the Borrowers under this Agreement or any of the
       other Loan Documents, the Lender shall be entitled to immediate payment of such
       Obligations without further application to or order of the Bankruptcy Court.

                (b)    Each Borrower agrees that to the extent that the Obligations hereunder have
       not been satisfied in full in cash (other than contingent indemnity or expense
       reimbursement obligations that are cash collateralized) (i) its Obligations arising hereunder
       shall not be discharged by the entry of any order of the Bankruptcy Court, including but
       not limited to an order confirming any Bankruptcy Plan filed in any or all of the Cases and
       (ii) the Superpriority Claims granted to the Lender pursuant to the Order and described in
       Section 2.17 and the Liens granted to Lender pursuant to the Order and described in Section
       2.17 shall not be affected in any manner by the entry of any order of the Bankruptcy Court,
       including, but not limited to, any order confirming such Bankruptcy Plan.

                                          ARTICLE III

                                          CONDITIONS

        3.1    Conditions of the Closing Date. The obligations of the Lender to close this
Agreement and to make the Order Funding Loan, if any, is subject to the satisfaction of each of
the following conditions:

              (a)    Loan Documents. This Agreement, the Note in favor of the Lender,
       together with any other applicable Loan Documents, shall have been duly authorized,
       executed and delivered to the Lender by the parties thereto, shall be in full force and effect
       and no Default or Event of Default shall exist hereunder or thereunder;

               (b)     Security Documents. To the extent requested by the Lender, the Lender
       shall have received a counterpart of all other agreements, documents or instruments
       required by the Lender in its sole discretion to evidence that first-priority (or second
       priority, as applicable) security interests in all of the Borrowers’ assets have been granted
       to the Lender pursuant to the Loan Documents, included without limitation, the Security
       Documents;

               (c)    Order. The Entry Date of the Order shall have occurred, and the Order shall
       contain provisions granting the Superpriority Claims and Liens and other Liens described
       under Section 2.17, which Order shall not have been vacated, reversed, modified, amended
       or stayed without the prior written consent of the Lender;

                                               - 23 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 57 of 88




               (d)    Appointment of Trustee or Examiner. No trustee under Chapter 7 or
       Chapter 11 of the Bankruptcy Code or examiner with expanded powers beyond those set
       forth in Section 1106(a)(3) and (4) of the Bankruptcy Code shall have been appointed in
       any of the Cases;

              (e)   Initial Budget. The Lender shall have received the Initial Budget certified
       by a Responsible Officer of the Borrowers as having been prepared in good faith based
       upon assumptions believed by the Borrowers to be reasonable at the time made;

               (f)     Other Agreements. The Lender shall be satisfied in its reasonable judgment
       that there shall not occur as a result of, and after giving effect to, the initial extension of
       credit hereunder (other than resulting from the filing of the Cases), a default (or any event
       which with the giving of notice or lapse of time or both would be a default) under any of
       the Borrowers’ material debt instruments and other material agreements which would
       permit the counterparty thereto to exercise remedies thereunder on a post-petition basis;

              (g)     [Intentionally Omitted].

               (h)    Approvals. All government and third party approvals (including any
       consents) necessary in connection with continuing operations of the Borrowers and the
       transactions contemplated by the Loan Documents shall have been obtained and be in full
       force and effect (without the imposition of any adverse conditions that are not reasonably
       acceptable to the Lender), and no law or regulation shall be applicable in the judgment of
       the Lender that restrains, prevents or imposes materially adverse conditions upon this
       Agreement, the extension of credit thereunder or the transactions contemplated thereby;

              (i)     Insurance. The Lender shall have received (i) a certificate of insurance
       coverage of the Borrower evidencing that the Borrower is carrying insurance in accordance
       with Section 5.14.

              (j)     Organizational Documents. The Lender shall have received:

                      (i)     copies of the organizational documents of the Borrowers,
              accompanied by a certificate dated the Closing Date issued by the secretary or an
              assistant secretary or another authorized representative of the Borrowers, to the
              effect that each such copy is correct and complete;

                      (ii)    a certificate of incumbency dated the Closing Date, including
              specimen signatures of all officers or other representatives of the Borrowers, who
              are authorized to execute Loan Documents on behalf of the Borrowers, such
              certificate being executed by the secretary or an assistant secretary or another
              authorized representative of the relevant Borrower;

                      (iii) copies of resolutions adopted by the relevant governing body of the
              Borrowers approving the Loan Documents to which the relevant Borrower is a
              party and authorizing the transactions contemplated herein and therein,
              accompanied by a certificate dated the Closing Date issued by the secretary or an
              assistant secretary or another authorized representative of the Borrowers, to the

                                               - 24 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 58 of 88




              effect that such copies are true and correct copies of resolutions duly adopted at a
              meeting or by unanimous consent and that such resolutions constitute all the
              resolutions adopted with respect to such transactions, have not been amended,
              modified or rescinded in any respect and are in full force and effect as of the date
              of such certificate; and

                     (iv)     certificates dated as of a recent date from the appropriate
              Governmental Authority evidencing the existence or qualification and, if
              applicable, good standing of the Borrowers in its jurisdiction of organization and in
              each jurisdiction in which it owns material assets or conducts material operations;

               (k)      Searches. The Lender shall have received results of searches of the uniform
       commercial code records of the Secretary of State of the State of organization of each
       Borrower, such search reports reflecting no Liens, other than Permitted Liens, against the
       Borrowers, or any of the Collateral as to which perfection of a Lien is accomplished by the
       filing of a financing statement;

               (l)      Due Diligence. The Lender shall have completed, to its satisfaction, all
       legal, tax, environmental, business and other due diligence with respect to the business,
       assets, liabilities, operations and conditions (financial or otherwise) of each Borrower in
       scope and determination satisfactory to the Lender in its sole discretion; and

        3.2     Conditions to All Term Loans. The obligation of the Lender to make any
disbursement from and after the Closing Date until the Termination Date is subject to the
satisfaction of the following conditions precedent on the relevant Disbursement Date:

              (a)    Borrowing Request. The Lender shall have received a Borrowing Request
       from the Borrowers in accordance with Section 2.1(b).

               (b)     Representations and Warranties. The representations and warranties
       contained in Article IV and in the other Loan Documents shall be true and correct in all
       material respects on and as of the Disbursement Date with the same force and effect as if
       made on and as of such date (except to the extent that such representations and warranties
       specifically refer to an earlier date, in which case they shall be true and correct as of such
       earlier date);

              (c)      No Material Adverse Effect. Since July 27, 2023, there shall not have
       occurred or there shall not exist any event, condition, circumstance or contingency that,
       individually or in the aggregate, has had or could reasonably be expected to have a Material
       Adverse Effect;

              (d)     No Existing Default. No Default or Event of Default shall exist and be
       continuing or shall result from such Term Loan or proposed or actual use of the proceeds
       of such Term Loan;

              (e)   No Violation of Law. The making of such Term Loan shall not violate any
       Requirement of Law and shall not be enjoined, temporarily, preliminarily or permanently;


                                               - 25 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 59 of 88




              (f)     Aggregate Exposure. After giving effect to such Term Loan, the aggregate
       outstanding principal amount of Term Loans shall not exceed the amount authorized by
       the Order;

              (g)    Compliance with the Budget. Immediately before and after giving effect to
       the requested disbursement, the Borrower shall be in pro forma compliance with the
       Budget;

               (h)     Payment of Fees. The Lender shall have received evidence of payment by
       the Borrowers to the Lender of all accrued and unpaid fees, costs and expenses payable
       thereto or to the Lender pursuant to the Loan Documents or otherwise required to be paid
       to the Lender, and in the case of costs and expenses, an invoice for which has been received
       by the Borrowers at least one Business Day before the date of such Term Loan, including
       any such costs, fees and expenses arising under or referenced in Section 2.4;

              (i)    Other Documents. The Lender shall have received such other agreements,
       documents, instruments, opinions, certificates, waivers, consents and evidences as the
       Lender may reasonably request; and

              (j)    Order. The Order shall be in full force and effect, unstayed, and shall not
       have been reversed, modified, amended, or vacated without the prior written consent of the
       Lender, and shall not be subject to an outstanding objection, appeal or motion to reconsider.

                                          ARTICLE IV

                          REPRESENTATIONS AND WARRANTIES

       To induce the Lender to enter into this Agreement and to induce the Lender to make the
Term Loans, the Borrowers represent and warrant to the Lender (which representations and
warranties shall survive the delivery of the Note) that:

        4.1     Due Authorization. Subject to the entry of the Order and subject to the terms
thereof, the execution and delivery by the Borrowers of this Agreement and the borrowing
hereunder, the execution and delivery by the Borrowers of the Note, the repayment of the Note,
payment of interest and fees provided for in the Note and this Agreement, the execution and
delivery by each Borrower of the Security Documents to which it is a party and the performance
by each Borrower of its obligations under the Loan Documents to which it is a party are within the
power of the relevant Borrower, have been duly authorized by all necessary action by the relevant
Borrower, and do not and will not (a) require the consent of any Governmental Authority, (b)
contravene or conflict with any Requirement of Law, (c) contravene or conflict with any indenture,
instrument or other agreement to which the relevant Borrower is a party or by which any Property
of the relevant Borrower may be presently bound or encumbered or (d) result in or require the
creation or imposition of any Lien in, upon or on any Property of the relevant Borrower under any
such indenture, instrument or other agreement, other than under any of the Loan Documents to
which it is a party.

        4.2     Existence. Each Borrower is a limited liability company duly organized, legally
existing and, if applicable, in good standing under the laws of its jurisdiction of organization and

                                               - 26 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 60 of 88




is duly qualified as a foreign corporation, foreign limited partnership, or foreign limited liability
company, as the case may be, and, if applicable, is in good standing in all jurisdictions wherein
the ownership of Property or the operation of its business necessitates same, other than those
jurisdictions wherein the failure to so qualify would not have a Material Adverse Effect.

        4.3    Valid and Binding Obligations. Subject to the entry of the Order and subject to the
terms thereof, all Loan Documents to which a Borrower is a party, when duly executed and
delivered by the relevant Borrower, constitute the legal, valid and binding obligations of the
relevant Borrower enforceable against such Borrower in accordance with their respective terms,
subject to applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting
creditors’ rights generally and subject to general principles of equity, regardless of whether
considered in a proceeding in equity or at law.

        4.4      Security Documents. Subject to the entry of the Order and subject to the terms
thereof, the provisions of each Security Document executed by the Borrowers are effective to
create, in favor of the Lender, legal, valid and enforceable Liens in all right, title and interest of
the relevant Borrower in the Property of such Borrower described therein, which Liens have the
priority set forth in Section 2.17.

        4.5     Title to the Property. With respect to all of Borrower’s material Property (including
the Real Property), except for such encumbrances, preferential rights, whether vested or otherwise,
the Borrowers have good and defensible title to all such Property, free and clear of all
encumbrances, preferential rights, whether vested or otherwise, and Liens (except Permitted Liens)
related to such Property.

        4.6    No Material Adverse Effect or Default. No event or circumstance has occurred
since July 27, 2023, which could reasonably be expected to have a Material Adverse Effect, and
no Default has occurred and is continuing.

         4.7   No Material Misstatements. No information, exhibit, statement or report furnished
to the Lender by or at the direction of the Borrowers in connection with this Agreement or any
other Loan Document contains any material misstatement of fact or omits to state a material fact
or any fact necessary to make the statements contained therein not misleading as of the date made
or deemed made; provided that, with respect to projected financial information, it represents only
that such information was prepared in good faith based upon assumptions believed to be reasonable
at the time.

       4.8     [Intentionally Omitted]. .

        4.9    Authorizations; Consents. Subject to the entry of the Order and subject to the terms
thereof, no authorization, consent, approval, exemption, franchise, permit or license of, or filing
with, any Governmental Authority or any other Person is required to authorize or is otherwise
required in connection with the valid execution and delivery by the Borrowers of the Loan
Documents to which it is a party or any instrument contemplated hereby, the repayment of the
Note, payment of interest and fees provided in the Note and this Agreement or the performance by
the Borrowers of the Obligations.



                                                - 27 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 61 of 88




        4.10 Compliance with Laws. Subject to the entry of the Order and subject to the terms
thereof, each Borrower and, to the knowledge of the Borrowers, the Property of the Borrowers, is
in compliance in all material respects with all applicable Requirements of Law, including
Environmental Laws and ERISA.

         4.11 ERISA. No Borrowers maintain, nor have the Borrowers maintained, any Plan. No
Borrowers currently contribute to or have any obligation to contribute to or otherwise have any
liability with respect to any Plan.

       4.12    Environmental Laws.

              (a)     To Borrowers’ knowledge, no Property of the Borrowers is currently on or
       has ever been on any federal or state list of Superfund Sites;

              (b)     To Borrowers’ knowledge, no Hazardous Substances have been generated,
       transported and/or disposed of by the Borrowers at a site which was, at the time of such
       generation, transportation, and/or disposal, or has since become, a Superfund Site;

              (c)    To Borrowers’ knowledge, except in accordance with applicable
       Requirements of Law or the terms of a valid permit, license, certificate or approval of the
       relevant Governmental Authority, no Borrower has caused a Release of Hazardous
       Substances and, to the knowledge of such Borrower, no Release of Hazardous Substances
       has occurred on the Real Property; and

               (d)     no Environmental Complaint has been received by the Borrowers.

       4.13 Compliance with Federal Reserve Regulations. No transaction contemplated by
the Loan Documents is in violation of any regulations promulgated by the Board of Governors of
the Federal Reserve System, including Regulations T, U or X.

        4.14 Investment Company Act Compliance. None of the Borrowers are, nor is any
Borrower directly or indirectly controlled by or acting on behalf of any Person which is, an
“investment company” or an “affiliated person” of an “investment company” within the meaning
of the Investment Company Act of 1940.

        4.15 Proper Filing of Tax Returns; Payment of Taxes Due. Each Borrower has duly and
properly filed its United States of America income tax returns or income tax information returns,
and all other tax returns which are required to be filed by the Borrowers, as applicable and has paid
all taxes, if any, shown as due from the Borrowers, as applicable, except (i) where appropriate
extensions have been filed, (ii) such taxes need not be paid pursuant to an order of the Bankruptcy
Court or pursuant to the Bankruptcy Code, (iii) such taxes are being contested in good faith and as
to which adequate provisions and disclosures have been made or (iv) such taxes as could not
reasonably be expected to have a Material Adverse Effect. The respective charges and reserves
on the books of the Borrowers with respect to Taxes and other governmental charges, if any of
such are required by applicable law or GAAP, are adequate.

       4.16 Casualties or Taking of Property. To Borrowers’ knowledge, neither the business
nor any Property of any Borrower has been materially adversely affected as a result of any casualty

                                               - 28 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 62 of 88




or taking of Property or cancellation of contracts, permits or concessions by any Governmental
Authority, riot, activities of armed forces or acts of God.

         4.17 Location of the Borrowers. The principal place of business and chief executive
office of each Borrower is located at the address of such Borrower set forth in Section 8.3 or at
such other location as such Borrower may have, by proper written notice hereunder, advised the
Lender, provided that such other location is within a state in which appropriate financing
statements naming such Borrower as debtor and naming the Lender as secured party, have been
filed, if required by applicable law.

       4.18 Compliance with Anti-Terrorism Laws. No Borrower or any Affiliate of any
Borrower is in violation of any Anti-Terrorism Law or knowingly engages in or conspires to
engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, or
attempts to violate, any of the prohibitions set forth in any Anti-Terrorism Law.

              (a)    No Borrower nor any Affiliate of a Borrower is any of the following (each
       a “Blocked Person”):

                     (i)     a Person that is listed in the annex, to, or is otherwise subject to the
              provisions of, Executive Order No. 13224;

                     (ii)    a Person owned or controlled by, or acting for or on behalf of, any
              Person that is listed in the annex to, or is otherwise subject to the provisions of,
              Executive Order No. 13224;

                      (iii) a Person or entity with which any bank or other financial institution
              is prohibited from dealing or otherwise engaging in any transaction by any Anti-
              Terrorism Law;

                     (iv)    a Person or entity that commits, threatens or conspires to commit or
              supports “terrorism” as defined in Executive Order No. 13224;

                     (v)   a Person or entity that is named as a “specially designated national”
              on the most current list published by OFAC at its official website or any
              replacement website or other replacement official publication of such list; or

                       (vi)   a Person or entity who is affiliated with a Person or entity listed
              above.

               (b)     No Borrower or any Affiliate of a Borrower (i) conducts any business or
       engages in making or receiving any contribution of funds, goods or services to or for the
       benefit of any Blocked Person or (ii) deals in, or otherwise engages in any transaction
       relating to, any Property or interests in Property blocked pursuant to Executive Order No.
       13224.

               (c)    No Borrower or any Affiliate of a Borrower is in violation of any rules or
       regulations promulgated by OFAC or of any economic or trade Sanctions administered and
       enforced by any Sanctions Authority or conspires to engage in any transaction that evades

                                              - 29 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 63 of 88




       or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
       prohibitions set forth in any rules or regulations promulgated by any Sanctions Authority.

        4.19 Bankruptcy Order. The Orders and the transactions contemplated thereby are in
full force and effect, are not subject to a stay and have not been vacated, reversed, modified or
amended in any respect adverse to the Lender.

         4.20 Budget. The Budget was prepared in good faith by the management of the
Borrowers, based on assumptions believed by the management of the Borrowers to be reasonable
at the time made and upon information believed by the management of the Borrowers to have been
accurate based upon the information available to the management of the Borrowers at the time
such Budget was furnished.

       4.21   Anti-Bribery and Anti-Corruption.

               (a)    Each of the Borrower, any of its Subsidiaries and Affiliates and their
       respective directors, officers, employees and, to the knowledge of each Borrower, agents
       and any other person or entity acting on behalf of any Borrower, has complied with the
       Anti-Corruption and Anti-Bribery Laws, in each case as applicable to them, and no action,
       suit or proceeding by or before any court or any arbitrator or any governmental agency,
       authority or body involving any Borrower and any of its Subsidiaries or their respective
       directors or officers and, to the knowledge of each Borrower, the employees, agents, or
       representatives of each of them, is pending or threatened with respect to Anti-Corruption
       and Anti-Bribery Laws.

               (b)     Neither the Borrower nor any of its Subsidiaries nor their respective
       directors or officers, nor, to the knowledge of each Borrower, the employees or agents of
       any of them has:

                     (i)     used any corporate funds (nor will it use any proceeds from the
              issuance of the Term Loans) for any unlawful contribution, gift, entertainment or
              unlawful expense relating to political activity;

                      (ii)     taken any action in furtherance of an unlawful offer, payment,
              promise to pay, or authorization or approval of the payment or giving of money,
              property, gifts or anything else of value, directly or indirectly, to any “government
              official” (including any officer or employee of a government or government owned
              or controlled entity or of a public international organization, or any person acting
              in an official capacity for or on behalf of any of the foregoing, or any political party
              or party official or candidate for public office) or made any other bribe, rebate,
              payoff, influence payment or kickback intended, in each case, to improperly
              influence official action or secure an improper advantage

                      (iii) nor will it use any proceeds from the issuance of the Term Loans in
              furtherance of any such unlawful payment or violation of Sanctions or Anti-
              Corruption and Anti-Bribery Laws.



                                               - 30 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 64 of 88




              (c)     Each Borrower and each Subsidiary thereof has instituted and maintained,
       and each Borrower and each Subsidiary thereof will continue to maintain policies,
       procedures designed to promote and ensure compliance with Anti-Corruption and Anti-
       Bribery Laws in all jurisdictions where they operate and with the representations and
       warranties contained herein.

                                          ARTICLE V

                                AFFIRMATIVE COVENANTS

       So long as any Obligation remains outstanding or unpaid, the Borrowers shall:

        5.1    Maintenance and Access to Records. Keep adequate records, in accordance with
GAAP, of all transactions so that at any time, and from time to time, the Borrowers’ true and
complete financial condition may be readily determined, and promptly following the request of
the Lender, provide information regarding the operations, business affairs and financial condition
of the Borrowers or compliance with the terms of this Agreement, make available for inspection
by the Lender records of the foregoing and, at the expense of the Borrowers, allow the Lender to
make and take away copies thereof.

        5.2    Financial Reporting. Keep adequate records, in accordance with GAAP, of all
transactions so that at any time, and from time to time, the Borrowers’ true and complete financial
condition may be readily determined, and promptly following the reasonable request of the Lender,
make such records available for inspection by the Lender and, at the expense of the Borrowers,
allow the Lender to make and take away copies thereof.

       5.3     Notices of Certain Events. Deliver to the Lender, immediately upon having
knowledge of the occurrence of any of the following events or circumstances, a written statement
with respect thereto, signed by a Responsible Officer of the Borrowers, and setting forth the
relevant event or circumstance and the steps being taken by the relevant Borrower with respect to
such event or circumstance:

               (a)    any Default or Event of Default;

               (b)   any default or event of default under any contractual obligation of the
       Borrowers, or any litigation, investigation or proceeding between the Borrowers and any
       Governmental Authority which, in either case, if not cured or if adversely determined, as
       the case may be, could reasonably be expected to have a Material Adverse Effect;

              (c)     other than the Adversary Proceeding (as defined in the Order), any litigation
       or proceeding involving any Borrower as a defendant or in which any Property of any
       Borrower is subject to a claim and in which the amount involved is $25,000 or more and
       which is not covered by insurance or in which injunctive or similar relief is sought;

              (d)     the receipt by the Borrowers of any Environmental Complaint, which if
       adversely determined could reasonably be expected to have a Material Adverse Effect;



                                              - 31 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 65 of 88




               (e)     any actual, proposed or threatened testing or other investigation by any
       Governmental Authority or other Person concerning the environmental condition of, or
       relating to, any Property of the Borrowers following any allegation of a violation of any
       Requirement of Law;

               (f)      any Release of Hazardous Substances by the Borrowers or from, affecting
       or related to any Property of the Borrowers or Property of others adjacent to Property of
       the Borrowers which could reasonably be expected to have a Material Adverse Effect,
       except in accordance with applicable Requirements of Law or the terms of a valid permit,
       license, certificate or approval of the relevant Governmental Authority, or the violation of
       any Environmental Law, or the revocation, suspension or forfeiture of or failure to renew,
       any permit, license, registration, approval or authorization which could reasonably be
       expected to have a Material Adverse Effect; and

              (g)    any other event or condition which could reasonably be expected to have a
       Material Adverse Effect.

       5.4      Tax Returns. Furnish to the Lender, promptly upon, but in no event more than
30 days after, each filing of the annual federal income tax return of the Borrowers with the Internal
Revenue Service, a copy thereof.

        5.5     Additional Information. Furnish to the Lender, promptly upon the request of the
Lender, such additional financial or other information concerning the assets, liabilities, operations
and transactions of the Borrowers as the Lender may from time to time reasonably request; and
notify the Lender not less than ten (10) Business Days prior to the occurrence of any condition or
event that may change the proper location for the filing of any financing statement or other public
notice or recording for the purpose of perfecting a Lien in any Property of the Borrowers, including
any change in its name or the location of the jurisdiction of organization, principal place of
business or chief executive office of the relevant Borrower; and upon the request of the Lender,
execute such additional Security Documents as may be necessary or appropriate in connection
therewith.

        5.6    Compliance with Laws. Except as otherwise excused by the Bankruptcy Court,
comply, in all material respects, with all applicable Requirements of Law, including (a) ERISA,
(b) Environmental Laws, (c) Anti-Terrorism Laws and (d) all permits, licenses, registrations,
approvals and authorizations (i) related to any natural or environmental resource or media located
on, above, within, related to or affected by any Property of the Borrowers, (ii) required for the
performance of the operations of the Borrowers, or (iii) applicable to the use, generation, handling,
storage, treatment, transport, or disposal of any Hazardous Substances; and use its best efforts to
cause all employees, agents, contractors, subcontractors and future lessees (pursuant to appropriate
lease provisions) of the Borrowers, while such Persons are acting within the scope of their
relationship with the relevant Borrower, to comply with all such Requirements of Law as may be
necessary or appropriate to enable the Borrowers to so comply.

       5.7    Payment of Assessments and Charges. In the case of any Debtor, in accordance
with the Bankruptcy Code and subject to any required approval by the Bankruptcy Court, pay all
Taxes, assessments, governmental charges, rent and solely to the extent arising post-petition, other

                                               - 32 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 66 of 88




Indebtedness which, if unpaid, might become a Lien against any Property of the Borrowers, except
any of the foregoing being contested in good faith and as to which an adequate reserve in
accordance with GAAP has been established or unless failure to pay would not have a Material
Adverse Effect.

        5.8    Maintenance of Existence or Qualification and Good Standing. Maintain its
corporate, limited liability company or limited partnership, as the case may be, existence or
qualification and, if applicable, good standing in its jurisdiction of organization and in all
jurisdictions wherein any material Property now owned or hereafter acquired or business now or
hereafter conducted by it necessitates same.

         5.9     Payment of the Note; Performance of Obligations. Pay the Note according to the
reading, tenor and effect thereof, as modified hereby, and do and perform every act and discharge
all of the other Obligations.

       5.10    Further Assurances.

               (a)      The Borrowers shall promptly (and in no event later than twenty (20) days
       after becoming aware of the need therefor) do all acts and things, and execute and file or
       record, all instruments, documents, or agreements reasonably requested by the Lender, to
       comply with, cure any defects or accomplish the conditions precedent, covenants and
       agreements of the Borrowers in the Loan Documents including the Note, to further
       evidence and more fully describe the Collateral as security for the Obligations, as to correct
       any omissions in this Agreement or the Security Documents, or to state more fully the
       obligations secured therein, or to perfect, protect or preserve any Liens created pursuant to
       this Agreement, the Security Documents or the Order or the priority thereof or to make any
       recordings, file any notices or obtain any consents, all as may be reasonably necessary or
       appropriate, in the reasonable discretion of the Lender, in connection therewith.

                (b)     In addition to the foregoing, the Borrowers shall, within thirty (30) days
       following request by the Lender, execute and deliver, mortgages, deeds of trust or any other
       agreements, documents or instruments with respect to the Real Property to evidence the
       first-priority security interests granted to the Lender pursuant to the Loan Documents.

        5.11 Initial Expenses of the Lender. Upon request by the Lender, promptly reimburse
the Lender for, or pay directly, all reasonable fees and expenses of counsel (including, without
limitation, local counsel) and financial advisors to the Lender, in connection with the preparation
of this Agreement and all documentation contemplated hereby, the satisfaction of the conditions
precedent set forth herein, the filing and recordation of Security Documents, and the
consummation of the transactions contemplated in this Agreement.

        5.12 Subsequent Expenses of the Lender. Promptly reimburse (a) all third party out-of-
pocket amounts reasonably expended, advanced or incurred by or on behalf of the Lender (i) to
satisfy any obligation of the Borrowers under any of the Loan Documents; (ii) to ratify, amend,
restate or prepare additional Loan Documents, as the case may be; (iii) in connection with the
filing and recordation of Security Documents; and which amounts shall include all reasonable
attorney’s fees, together with interest at the Contract Rate on each such amount from the date of


                                               - 33 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 67 of 88




notification by the Lender that the same was expended, advanced or incurred by the Lender until
the date it is repaid to the Lender; and (iv) costs and expenses with respect to any aspect of the
Cases; and (b) following an Event of Default, all out-of-pocket costs and expenses, if any, of the
Lender (i) to enforce or protect their respective rights under any of the Loan Documents, including
all such out of pocket expenses incurred during any workout, restructuring or negotiations in
respect of the Term Loans; and which amounts in (a) and (b) shall include all reasonable attorney’s
fees (including, without limitation, local counsel), together with interest at the Contract Rate or
Default Rate, as applicable, on each such amount from the date of notification by the Lender that
the same was expended, advanced or incurred by the Lender until the date it is repaid to the Lender.

        5.13 Maintenance and Inspection of Properties. Maintain or, to the extent that the right
or obligation to do so rests with another Person, exercise commercially reasonable efforts to cause
such other Person to maintain all of the tangible Properties of the Borrowers in good repair and
condition, ordinary wear and tear excepted; make or, to the extent that the right or obligation to do
so rests with another Person, exercise commercially reasonable efforts to cause such other Person
to make all necessary replacements thereof and operate such Properties in a good and workmanlike
manner; and permit any authorized representative of the Lender, upon prior notice to the
Borrowers, to visit and inspect, at reasonable times, any tangible Property of the Borrowers.

        5.14 Maintenance of Insurance. Maintain or cause to be maintained insurance with
respect to its Properties and businesses against such liabilities, casualties, risks and contingencies
as is customary in the relevant industry and sufficient to prevent a Material Adverse Effect, all
such insurance to be in amounts and from insurers reasonably acceptable to the Lender and name
the Lender as an additional insured and loss payee.

         5.15 Environmental Indemnification. Indemnify and hold the Lender and its
shareholders, officers, directors, employees, agents, attorneys-in-fact and Affiliates and each
trustee for the benefit of the Lender under any Security Document (each of the foregoing an
“Indemnitee”) harmless from and against any and all claims, losses, damages, liabilities, fines,
penalties, charges, administrative and judicial proceedings and orders, judgments, remedial
actions, requirements and enforcement actions of any kind, and all reasonable costs and expenses
incurred in connection therewith (including attorneys’ fees and expenses), arising directly or
indirectly, in whole or in part, from (a) the presence of any Hazardous Substances on, under, or
from any Property of the Borrowers, whether prior to or during the term hereof, (b) any activity
carried on or undertaken on any Property of the Borrowers, whether prior to or during the term
hereof, and whether by the Borrowers or any of the predecessors in title, employees, agents,
contractors or subcontractors of or any other Person at any time occupying or present on such
Property, in connection with the handling, treatment, removal, storage, decontamination, cleanup,
transportation or disposal of any Hazardous Substances at any time located or present on or under
such Property, (c) any residual contamination on or under any Property of the Borrowers, (d) any
contamination of any Property or natural resources arising in connection with the generation, use,
handling, storage, transportation or disposal of any Hazardous Substances by the Borrowers or any
employees, agents, contractors or subcontractors of the Borrowers while such Persons are acting
within the scope of their relationship with the Borrowers, irrespective of whether any of such
activities were or will be undertaken in accordance with applicable Requirements of Law or (e) the
performance and enforcement of any Loan Document or any other act or omission in connection
with or related to any Loan Document or the transactions contemplated thereby, including any

                                                - 34 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 68 of 88




such claim, loss, damage, liability, fine, penalty, charge, administrative or judicial proceeding,
order, judgment, remedial action, requirement, enforcement action, cost or expense, arising from
the negligence (but not the gross negligence or willful misconduct), whether sole or concurrent, of
any Indemnitee; with the foregoing indemnity surviving satisfaction of all Obligations and the
termination of this Agreement, unless all such Obligations have been satisfied wholly in cash and
not by way of realization against any Collateral or the conveyance of any Property in lieu thereof,
provided that such indemnity shall not extend to any act or omission by the Lender with respect to
any Property subsequent to the Lender becoming the owner of such Property and with respect to
which Property such claim, loss, damage, liability, fine, penalty, charge, proceeding, order,
judgment, action or requirement arises subsequent to the acquisition of title thereto by the Lender.
All amounts due under this Section 5.15 shall be payable on written demand therefor by the
Lender.

        5.16 General Indemnification. Indemnify and hold each Indemnitee harmless from and
against any and all losses, claims, damages, liabilities and related expenses, including reasonable
counsel fees and expenses, incurred by or asserted against any Indemnitee arising out of, in any
way connected with or as a result of (a) the execution and delivery of this Agreement and the other
Loan Documents, the performance by the parties hereto and thereto of their respective obligations
hereunder and thereunder and consummation of the transactions contemplated hereby and thereby,
(b) the use of proceeds of the Term Loan, or (c) any claim, litigation, investigation or proceeding
relating to any of the foregoing, whether or not any Indemnitee is a party thereto, including any
such loss, claim, damage, liability or expense arising from the negligence, whether sole or
concurrent, of any Indemnitee, except to the extent the same is found in a final, nonappealable
judgment by a court of competent jurisdiction to have resulted from such Indemnitee’s gross
negligence or willful misconduct; with the foregoing indemnity surviving satisfaction of all
Obligations and the termination of this Agreement. All amounts due under this Section 5.16 shall
be payable on written demand therefor.

       5.17    Budget Variance Report, Cash Forecasts & Lender Conference Calls.

               (a)     On or before the last Business Day of each calendar week following the end
       of the calendar week in which Closing Date occurs (the “Testing Date”), the Borrowers
       shall prepare and deliver to the Lender a report as of the end of each prior calendar week
       certified by a Responsible Officer of the Borrowers as to compliance with the covenant set
       forth in Section 6.18, together with, in each case, a reconciliation between actual and
       projected cash receipts and disbursements for such prior calendar week and a written
       summary of the causes for any material variations.

               (b)     No later than the Friday ending every consecutive four (4) week period
       included in the then-effective Budget, the Borrowers shall deliver to the Lender a proposed
       updated Budget for next four (4) week period for the approval of the Lender in its sole
       discretion, Such update Budget will be deemed accepted unless the Lender timely provides
       written notice setting forth a specific objection to the new budget within three (3) business
       days of service of the proposed updated Budget by the Borrowers. In the event of a
       disagreement between the Lender and the Borrowers regarding any updated, modified, or
       supplemented Budget, the most recent Budget approved by the Lender will continue to stay
       in place and the Borrowers may continue to use proceeds of the Term Loans in accordance

                                               - 35 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 69 of 88




       with such Budget and the Order unless and until an updated, modified, or supplemented
       Budget is approved by, and is in a form and substance satisfactory to both the Borrowers
       and the Lender.

        5.18 Certain Other Bankruptcy Orders. As soon as practicable in advance of filing with
the Bankruptcy Court, but in no event less than two (2) days before filing (or such shorter period
reasonably agreed to by Lender under emergency circumstances), the Borrowers shall furnish to
the Lender (i) the motion seeking approval of and proposed form of the Order, which motion shall
be in form and substance satisfactory to the Lender in its sole discretion, (ii) all other proposed
orders and pleadings related to this Agreement, which orders and pleadings shall be in form and
substance reasonably satisfactory to the Lender, (iii) any plan of reorganization, and/or any
disclosure statement related to such plan (which plan or disclosure statement shall comply with
the requirements set forth herein), (iv) any motion and proposed form of order seeking to extend
or otherwise modify the Debtors’ exclusive periods set forth in section 1121 of the Bankruptcy
Code, (v) any motion seeking approval of any sale of the Debtors’ assets and any proposed form
of a related bidding procedures order and sale order, (vi) any motion and proposed form of order
filed with the Bankruptcy Court relating to any management equity plan, incentive plan or
severance plan, the assumption, rejection, modification or amendment of any material contract;
and (vii) any other pleadings to be filed by Borrowers with the Bankruptcy Court.

      5.19 Certain Case Milestones. The following “Milestones” shall apply to this
Agreement, subject to extension by the Lender in its sole discretion:

              (a)    Not later than September 27, 2023, an auction for the Real Property shall
       have occurred or been completed, unless such auction is canceled pursuant to the terms of
       the Bidding Procedures Order (as defined in the Order);

              (b)    Not later than October 6, 2023, the Debtors shall obtain entry of an order of
       the Bankruptcy Court approving the Sale Transaction (the “Sale Order”); and

              (c)    Not later than 15 days following after entry of the Sale Order, the Sale
       Transaction shall have closed.

                                          ARTICLE VI

                                   NEGATIVE COVENANTS

       So long as any Obligation remains outstanding or unpaid, none of the Borrowers will:

        6.1     Indebtedness. Create, incur, assume or suffer to exist any Indebtedness, whether
by way of loan or otherwise; provided, however, the foregoing restriction shall not apply to (a) the
Obligations, (b) unsecured accounts payable incurred in the ordinary course of business and
authorized by the Budget, which are not unpaid in excess of forty-five (45) days beyond invoice
date or are being contested in good faith and as to which such reserve as is required by GAAP has
been made, and (c) Indebtedness associated with Permitted Liens permitted pursuant to clauses (a)
and (d) of the definition thereof.



                                               - 36 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 70 of 88




        6.2   Liens. Create, incur, assume or suffer to exist any Lien on any of its Property,
whether now owned or hereafter acquired; provided, however, the foregoing restriction shall not
apply to Permitted Liens.

       6.3     Sales of Assets. Sell, transfer or otherwise dispose of, any of its Property, whether
now owned or hereafter acquired, or enter into any agreement to do so; provided, however, the
foregoing restriction shall not apply to (a) the sale or other disposition of Property destroyed, lost,
worn out, damaged or having only salvage value or no longer used or useful in the business in
which it is used, or (b) sales or other dispositions of Property approved by the Lender.

        6.4     Leasebacks. Enter into any agreement to sell or transfer any Property and thereafter
rent or lease as lessee such Property or other Property intended for the same use or purpose as the
Property sold or transferred.

       6.5    Loans or Advances. Make or agree to make or allow to remain outstanding any
loans or advances to any Person

        6.6      Investments. Make or acquire Investments in, or purchase or otherwise acquire all
or substantially all of the assets of, any Person; provided, however, the foregoing restriction shall
not apply to Investments in the form of (i) debt securities issued or directly and fully guaranteed
or insured by the United States of America or any agency or instrumentality thereof, with
maturities of no more than one year, (ii) commercial paper of a domestic issuer rated at the date of
acquisition at least P-2 by Moody’s Investor Service, Inc. or A-2 by Standard & Poor’s Corporation
and with maturities of no more than one year from the date of acquisition, (iii) repurchase
agreements covering debt securities or commercial paper of the type permitted in this Section 6.6,
or (iv) certificates of deposit, demand deposits, eurodollar time deposits, overnight bank deposits
and bankers’ acceptances, with maturities of no more than one year from the date of acquisition,
issued by or acquired from or through any Lender or any bank or trust company organized under
the laws of the United States of America or any state thereof and having capital surplus and
undivided profits aggregating at least $100,000,000, (b) other short-term Investments similar in
nature and degree of risk to those described in clause (b) of this proviso to this Section 6.6, (c)
Investments in money-market funds sponsored or administered by Persons acceptable to the
Lender and which funds invest in short-term Investments similar in nature and degree of risk to
those described in clause (a) of this proviso to this Section 6.6, or (d) evidences of loans or
advances not prohibited by the provisions of Section 6.5.

        6.7    Dividends and Distributions. Declare, pay or make, whether in cash or Property of
the relevant Borrower, any dividend or distribution on, or purchase, redeem or otherwise acquire
for value, any of its Equity Interests other than distributions to another Borrower.

       6.8    Issuance of Equity; Changes in Corporate Structure. Issue or agree to issue any
Equity Interest in any Borrower; enter into any transaction of consolidation, merger or
amalgamation (including through a plan of division), form or acquire any Subsidiary or liquidate,
wind-up or dissolve (or suffer any liquidation or dissolution).

       6.9     Transactions with Affiliates and Certain Other Person. Directly or indirectly, enter
into any transaction (including the sale, lease or exchange of Property or the rendering of service)


                                                - 37 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 71 of 88




with any of its Affiliates or with any Person directly or indirectly related to any Borrower or any
manager or officer of such Borrower, other than: (a) upon fair and reasonable terms no less
favorable than could be obtained in an arm’s length transaction with a Person which was not an
Affiliate and (b) upon terms approved by the Lender in writing.

       6.10 Lines of Business. Engage in any line of business other than those in which the
relevant Borrower is engaged as of the Closing Date.

        6.11 Plan Obligation. Assume or otherwise become subject to an obligation to
contribute to or maintain any Plan or acquire any Person which has at any time had an obligation
to contribute to or maintain any Plan.

        6.12 Anti-Terrorism Laws. Conduct any business or engage in any transaction or
dealing with any Blocked Person, including the making or receiving of any contribution of funds,
goods or services to or for the benefit of any Blocked Person; Deal in, or otherwise engage in any
transaction relating to, any Property or interests in Property blocked pursuant to Executive Order
No. 13224; Engage in or conspire to engage in any transaction that evades or avoids, or has the
purpose of evading or avoiding, or attempts to violate (i) any of the prohibitions set forth in
Executive Order No. 13224 or the USA Patriot Act or (ii) any prohibitions set forth in the rules or
regulations issued by OFAC or any Sanctions against targeted foreign countries, terrorism
sponsoring organizations and international narcotics traffickers based on United States of America
foreign policy.

        6.13 Amendment of Material Contracts. Amend, supplement, restate or otherwise
modify, in any material respect, any material contract or agreement to which the relevant Borrower
is a party in each case, without express written consent from the Lender.

       6.14 Deposit Accounts. Establish or maintain funds on deposit in a deposit account with
any financial institution other than in the Operating Account.

       6.15 Organizational Documents. Enter into any amendment or permit any
modification of, or waive any material right or obligation of any Person under, any Borrower’s
applicable certificate or articles of incorporation, certificate of formation, bylaws, limited liability
company agreement or equivalent or comparable document, in each case in a manner that is
materially adverse to the Lender.

       6.16 Capital Expenditures. Make or commit or agree to make, in any fiscal quarter,
Capital Expenditures except as permitted by the Budget.

        6.17 Prepayments of Certain Indebtedness. No Borrower shall, nor shall it permit any
of its Affiliates to, directly or indirectly, purchase, redeem, defease or prepay any principal of,
premium, if any, interest or other amount payable in respect of any Indebtedness of any Borrower
or any of its Subsidiaries prior to its scheduled maturity, other than as permitted in this Agreement
or the Order.




                                                 - 38 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 72 of 88




       6.18    Budget Variances.

               (a)     The Budget shall be tested on a weekly basis (of Monday through Sunday)
       on the last Business Day of each week as required under Section 5.19. Any deviation from
       the Budget in excess of the Permitted Variances (as described below in Section 6.18(b))
       shall constitute non-compliance with the Budget and the terms of the Loan Documents and
       an Event of Default; provided that the Lender shall have the authority to provide written
       pre-approval for any deviations in excess of the Permitted Variances.

               (b)    The Borrowers shall at all times comply with the Budget, subject to an
       allowed cumulative variance of less than or equal to ten percent (10%) in the aggregate of
       the expense line items set forth on the Budget (the “Permitted Variance”). On or before
       5:00 p.m. (prevailing Central Time) beginning with the first Friday following the entry of
       the Order and each Friday thereafter, the Borrowers shall prepare and deliver to the Lender
       a Variance report setting forth in reasonable detail actual cash receipts and disbursements
       for the prior week.

              (c)     For the purposes of the above calculations, it is agreed that to the extent that
       the Professional Fees incurred by counsel to the Lender exceed the amounts for such line
       items in the Budget, such excess amounts shall be disregarded when calculating the
       Permitted Variance.

        6.19 Use of Proceeds. The Borrowers shall not directly or indirectly, use or permit the
use of all or any portion of the Loans for any purpose other than the Approved Purposes. The
Borrowers will not directly or indirectly use the proceeds of the Term Loans, or otherwise make
available such proceeds to any person, (a) to permit the Borrowers, any or any other party-in-
interest or their representatives to challenge or otherwise contest or institute any proceeding to
determine (i) the validity, perfection or priority of security interests in favor of the Lender, or (ii)
the enforceability of the obligations of the Borrowers under the DIP Facility, (b) to investigate
(except as may be required by the Bankruptcy Court), commence, prosecute or defend any claim,
motion, proceeding or cause of action against any the Lender and its respective agents, attorneys,
advisors or representatives including, without limitation, any lender liability claims, subordination
claims or any claims attempting to invalidate any of the Loan Documents, (c) to fund acquisitions,
capital expenditures or any other expenditure other than as set forth in the Budget, (d) in
furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Terrorism Laws, (e) for
the purpose of funding, financing or facilitating any activities, business or transaction of or with
any Blocked Person, or (f) in a manner that would otherwise violate any Anti-Terrorism Law.

       6.20    Additional Bankruptcy Matters. The Borrowers shall not do any of the following:

              (a)     assert or prosecute any claim or cause of action against the Lender, unless
       such claim or cause of action is in connection with the enforcement or defense of the Loan
       Documents against the Lender;

              (b)     subject to Section 7.2(b), object to, contest, delay, prevent or interfere with
       in any material manner the exercise of rights and remedies by the Lender with respect to


                                                 - 39 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 73 of 88




       the Collateral following the occurrence of an Event of Default (provided that any Borrower
       may contest or dispute whether an Event of Default has occurred);

               (c)    except as expressly provided or permitted hereunder or as provided pursuant
       to any other Order of the Bankruptcy Court which is in form and substance satisfactory to
       the Lender, make any payment or distribution to any non-Debtor Affiliate or insider of the
       Borrowers outside of the ordinary course of business; or

              (d)    without the consent of the Lender, file a motion (or support any motion)
       seeking to amend or otherwise modify any Order in any manner adverse to the Lender.

                                           ARTICLE VII

                                     EVENTS OF DEFAULT

       7.1    Enumeration of Events of Default. Any of the following events shall constitute an
Event of Default:

               (a)     default shall be made in the payment when due of any installment of
       principal or interest under this Agreement or the Note or in the payment when due of any
       fee or other sum payable under any Loan Document to which the relevant Borrower is a
       party;

               (b)     default shall be made by the Borrowers in the due observance or
       performance of any of its obligations under the Loan Documents, and, as to compliance
       with the obligations of the Borrowers under Article V (other than Sections 5.9), such
       default shall continue for five (5) days after the earlier of (i) notice thereof to the relevant
       Borrower or Borrowers by the Lender or (ii) knowledge thereof by the relevant Borrower
       or any of the other Borrowers;

               (c)     any representation or warranty made by the Borrowers in any of the Loan
       Documents to which the relevant Borrower is a party proves to have been untrue in any
       material respect or any representation, statement, certificate or data furnished or made to
       the Lender in connection herewith proves to have been untrue in any material respect as of
       the date the facts therein set forth were stated or certified;

               (d)     default shall be made by any Borrower (as principal or guarantor or other
       surety) in the payment or performance of any bond, debenture, note or other Indebtedness
       in excess of $50,000 in the aggregate as to the relevant Borrower or under any credit
       agreement, loan agreement, indenture, promissory note or similar agreement or instrument
       executed in connection with any of the foregoing, and such default shall remain
       unremedied for in excess of the period of grace, if any, with respect thereto; provided that
       this clause (d) shall not apply to any Indebtedness outstanding hereunder and any
       Indebtedness of any Borrower that was incurred prior to the Petition Date (or, if later, the
       date on which such Person became a Debtor);

              (e)     the levy against any significant portion of the Property of the Borrowers, or
       any execution, garnishment, attachment, sequestration or other writ or similar proceeding

                                                - 40 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 74 of 88




       post-petition in an amount in excess of $50,000 as to the relevant Borrower which is not
       permanently dismissed or discharged within 60 days after the levy;

              (f)     a final and non-appealable order, judgment or decree shall be entered
       against any Borrower post-petition for money damages and/or Indebtedness due that
       accrued post-petition in an amount in excess of $250,000, and such order, judgment or
       decree shall not be paid, dismissed or stayed within 60 days or is not fully covered by
       insurance;

               (g)      any charges are filed or any other action or proceeding is instituted by any
       Governmental Authority against any Borrower under the Racketeering Influence and
       Corrupt Organizations Statute (18 U.S.C. §1961 et seq.), the result of which could be the
       forfeiture or transfer of any material Property of the relevant Borrower subject to a Lien in
       favor of the Lender without (i) satisfaction or provision for satisfaction of such Lien or (ii)
       such forfeiture or transfer of such Property being expressly made subject to such Lien;

               (h)     any Borrower shall have (i) concealed, removed or diverted, or permitted to
       be concealed, removed or diverted, any part of its Property, with intent to hinder, delay or
       defraud its creditors or any of them, (ii) made or suffered a transfer of any of its Property
       which may be fraudulent under any bankruptcy, fraudulent conveyance or similar law with
       intent to hinder, delay or defraud its creditors, (iii) made any transfer of its Property to or
       for the benefit of a creditor at a time when other creditors similarly situated have not been
       paid with intent to hinder, delay or defraud its creditors or (iv) shall have suffered or
       permitted, while insolvent, any creditor to obtain a Lien upon any of its Property through
       legal proceedings or distraint which is not vacated within 60 days from the date thereof;

               (i)    any Security Document shall for any reason not, or cease to, create valid
       and perfected first-priority Liens against the Property of any Borrower which is a party
       thereto purportedly covered thereby, except to the extent permitted by this Agreement or
       to the extent Liens against such Property are otherwise validly created and perfected
       pursuant to the Order;

              (j)     any Loan Document ceases to be in full force and effect (other than by
       reason of a release of Collateral in accordance with the terms hereof or thereof or the
       payment in full in cash of the Obligations in accordance with the terms hereof) or any
       Borrower contests in any manner the validity or enforceability of any provision of any
       Loan Document to which it is a party, or denies that it has any liability under any Loan
       Document to which it is a party;

              (k)     any Borrower purports to revoke, terminate or rescind any Loan Document
       or any provision of any Loan Document;

              (l)     a Change of Control occurs;

               (m)     any Borrower (or any direct or indirect parent of any Borrower) or any
       Person claiming by or through any of the foregoing, shall obtain court authorization to
       commence, or shall commence, join in, assist or otherwise participate as an adverse party
       in any suit or other proceeding against the Lender regarding the DIP Facility, unless such

                                               - 41 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 75 of 88




       suit or other proceeding is in connection with the enforcement of the Loan Documents
       against the Lender;

               (n)    a plan of reorganization shall be confirmed in any of the Cases, or any order
       shall be entered which dismisses any of the Cases and which order does not provide for
       termination of the Commitments under this Agreement and indefeasible payment in full in
       cash of the Obligations under the Loan Documents or provide such treatment that is
       otherwise acceptable to the Lender in its sole discretion, or any of the Borrowers or any of
       their Subsidiaries shall file, propose, support, or fail to contest in good faith the filing or
       confirmation of such a plan or the entry of such an order;

               (o)    any Borrower or any of its Subsidiaries shall file any motion seeking
       authority to consummate the sale of assets of any Borrower or any of its Subsidiaries (other
       than as permitted under the Loan Documents) pursuant to Section 363 of the Bankruptcy
       Code, without prior written consent of the Lender;

              (p)     the entry of an order dismissing any of the Cases or converting any of the
       Cases to a case under chapter 7 of the Bankruptcy Code, or any filing by the Borrowers or
       any of their Subsidiaries of a motion or other pleading seeking entry of such an order or
       supporting entry of such an order;

               (q)     a trustee, responsible officer or an examiner having expanded powers
       (beyond those set forth under Sections 1106(a)(3) and (4) of the Bankruptcy Code) under
       Bankruptcy Code section 1104 (other than a fee examiner) is appointed or elected in the
       any of the Cases, any Borrower or any of its Subsidiaries applies for, consents to, or fails
       to contest in, any such appointment, or the Bankruptcy Court shall have entered an order
       providing for such appointment, in each case without the prior written consent of the
       Lender in its sole discretion;

               (r)     the entry of an order or the filing by any Borrower or any of its Subsidiaries
       of an application, motion or other pleading seeking entry of an order staying, reversing,
       vacating or otherwise modifying the Order, in each case in a manner adverse in any material
       respect to the Lender;

               (s)      the entry of an order in any of the Cases holding that the O’Connor
       Defendants hold valid, enforceable, perfected and unavoidable Liens on, and security
       interests in, the assets of the Borrowers;

              (t)     the entry of an order in any of the Cases granting relief from any stay of
       proceeding (including, without limitation, the automatic stay) so as to allow a third party
       to proceed against any material assets of the Borrowers or any of their Subsidiaries;

               (u)     the entry of a final non-appealable order in the Cases charging any of the
       Collateral under Section 506(c) of the Bankruptcy Code against the Lender or the
       commencement of any other actions by the Borrowers or any of their Subsidiaries (or any
       direct or indirect parent thereof), that challenges the rights and remedies of the Lender
       under this Agreement in any of the Cases or that is inconsistent with the Loan Documents;


                                               - 42 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 76 of 88




              (v)    the entry of an order in any of the Cases seeking authority to obtain
       financing under Section 364 of the Bankruptcy Code (other than the DIP Facility);

               (w)    the entry of an order in any of the Cases granting adequate protection to any
       other person (other than the Order and “first day” orders), to the extent such adequate
       protection is senior or pari passu to the Liens and Superpriority Claims granted to the
       Lender in the Order;

               (x)     the filing or support by the Borrowers or any of their Subsidiaries of a
       Bankruptcy Plan that (a) does not provide for the indefeasible payment in full, in cash of
       all obligations owing under this Agreement or such other treatment that is acceptable to
       Lender in its sole discretion; and (b) is not otherwise acceptable to the Lender in its sole
       and reasonable discretion;

               (y)    the filing or support of any pleading by any Borrower or any of its
       Subsidiaries (or any direct or indirect parent thereof), seeking, or otherwise consenting to,
       any of the matters set forth in clauses (q) through (x) above;

                (z)    the making of any Prepetition Payments other than (i) as permitted by the
       Order, (ii) as permitted by any “first day” orders reasonably satisfactory to the Lender, or
       (iii) as permitted by any other order of the Bankruptcy Court in amounts reasonably
       satisfactory to the Lender;

               (aa) the entry of an order of the Bankruptcy Court granting, other than in respect
       of the DIP Facility and the Carve-Out, any claim entitled to superpriority administrative
       expense claim status in the Cases pursuant to Section 364(c)(1) of the Bankruptcy Code
       pari passu with or senior to the claims of the Lender under the DIP Facility, or the filing
       by the Borrowers or any of their Subsidiaries of a motion or application seeking entry of
       such an order;

               (bb) other than with respect to the Carve-Out and the Liens permitted to have
       such priority under Section 2.17, and subject to the Order and “first day” orders, the
       Company shall create or incur, or the Bankruptcy Court enters an order granting, any Lien
       which is pari passu with or senior to any Liens under the Loan Documents or the adequate
       protection Liens granted under the Order;

              (cc)    noncompliance by any Borrower or any of its Subsidiaries with the terms of
       the Order;

              (dd)    the making of any payments not expressly provided for in the Budget; or

              (ee)    failure by Debtors to comply with the “Milestones” set forth is Section 5.19.

       7.2    Remedies.

              (a)     Subject to the provisions of the Order, upon the occurrence of any Event of
       Default, the Lender may by notice in writing to any Borrower, terminate all Commitments
       under this Agreement and declare all Obligations immediately due and payable, without

                                              - 43 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 77 of 88




       presentment, demand, protest, notice of protest, default or dishonor, notice of intent to
       accelerate maturity, notice of acceleration of maturity or other notice of any kind, except
       as may be provided to the contrary elsewhere herein, all of which are hereby expressly
       waived by each Borrower.

               (b)      Subject to the provisions of the Order, upon the occurrence of any Event of
       Default and the giving of five (5) Business Days’ notice to the Borrowers (the “Remedies
       Notice Period”), the Lender may, in addition to the foregoing in this Section 7.2, exercise
       any or all of its rights and remedies provided by law or pursuant to the Loan Documents,
       including without limitation, the ability of Lender to credit bid up to 100% of the
       Obligations then outstanding. During the Remedies Notice Period, the Borrowers and any
       party in interest shall be entitled to seek an emergency hearing with the Bankruptcy Court,
       for the sole purpose of contesting whether an Event of Default has occurred and/or is
       continuing.

              (c)    Should the Obligations under the Loan Documents become immediately
       due and payable in accordance with any of the preceding subsections of this Section 7.2,
       following the Remedies Notice Period and subject to the Order of the Bankruptcy Court,
       the Lender shall be entitled to proceed against the Collateral.

               (d)     Proceeds received by the Lender from realization against the Collateral and
       any other funds received by the Lender from any Borrower when an Event of Default has
       occurred and is continuing shall be applied (i) first, to fees and expenses due pursuant to
       the terms of this Agreement or any other Loan Document with a Lender, (ii) second, to
       accrued interest on the Obligations under the Loan Documents with a Lender and (iii) third,
       to the Loan Balance and any other Obligations then due and payable, pro rata in accordance
       with the ratio of the Loan Balance or such other Obligations, as the case may be, to the sum
       of the Loan Balance and such other Obligations.

                                         ARTICLE VIII

                                      MISCELLANEOUS

       8.1    Assignments; Participations.

            (a)     No Borrower may assign any of its rights or obligations under any Loan
       Document without the prior written consent of the Lender.

               (b)     The Lender may assign to one or more assignees all or a portion of its rights
       and obligations under this Agreement pursuant to an assignment agreement reasonably
       acceptable to the Lender (the “Assignment Agreement”). Promptly following receipt of an
       executed Assignment Agreement, the Lender shall send to the Borrowers a copy of such
       executed Assignment Agreement. Promptly following receipt of such executed
       Assignment Agreement, the Borrowers shall execute and deliver, at their own expense, a
       new Note to the assignee and, if applicable, the assignor, in accordance with their
       respective interests, whereupon the prior Note of the assignor and, if applicable, the
       assignee, shall be canceled and returned to the Borrowers. If the assignor no longer holds


                                              - 44 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 78 of 88




       any rights or obligations under this Agreement, such assignor shall cease to be a “Lender”
       hereunder, except that its rights under Section 5.12, Section 5.16 and Section 5.20, shall
       not be affected.

                (c)     The Lender may transfer, grant or assign participations in all or any portion
       of its interests hereunder to any Person pursuant to this Section 9.1(c), In the case of any
       such participation, the participant shall not have any rights under any Loan Document, the
       rights of the participant in respect of such participation to be against the granting Lender
       as set forth in the agreement with the Lender creating such participation, and all amounts
       payable by the Borrowers hereunder shall be determined as if the Lender had not sold such
       participation.

              (d)     The Lender may furnish any information concerning the Borrowers in the
       possession of the Lender from time to time to assignees and participants and prospective
       assignees and participants.

               (e)     Notwithstanding any other provisions of this Section 8.1, no transfer or
       assignment of the interests or obligations of any Lender or grant of participations therein
       shall be permitted if such transfer, assignment or grant would require the Borrowers to file
       a registration statement with the Securities and Exchange Commission or any successor
       Governmental Authority or qualify the Term Loans under the “Blue Sky” laws of any state.

       8.2      Survival of Representations, Warranties, and Covenants. All representations and
warranties of the Borrowers and all covenants and agreements herein made by the Borrowers shall
survive the execution and delivery of the Note and shall remain in force and effect so long as any
Obligation is outstanding.

        8.3     Notices and Other Communications. Except as to oral notices expressly authorized
herein, if any, which oral notices shall be promptly confirmed in writing, all notices, requests and
communications hereunder shall be in writing (including by facsimile or electronic mail). Unless
otherwise expressly provided herein, any such notice, request, demand or other communication
shall be deemed to have been duly given or made when delivered personally, or, in the case of
delivery by mail, when deposited in the mail, certified mail with return receipt requested, postage
prepaid, in the case of facsimile notice, when receipt thereof is acknowledged orally or by written
confirmation report or, in the case of electronic mail, when sent and no undeliverable notification
is received, addressed as follows:

               (a)     if to the Lender, to:

                               Ajax Holdings LLC
                               [__________]
                               [__________]
                               [__________]
                               Attention: [__________]
                               E-mail: [__________].com

                       With a copy to:


                                               - 45 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 79 of 88




                               Hunton Andrews Kurth LLP
                               600 Travis, Suite 4200
                               Houston, Texas 77002
                               Attention: Timothy A. “Tad” Davidson II
                               E-mail: taddavidson@huntonak.com

               (b)     if to any Borrower, to:

                               AVR AH LLC
                               514 E. Hyman Avenue
                               Aspen, Colorado 81611
                               Attention: [__________]
                               E-mail: [__________].com

                               Strudel Holdings LLC
                               1201 Louisiana Street, Suite 3100
                               Houston, Texas 77002
                               Attention: [__________]
                               E-mail: [__________].com

                       With a copy to:

                               Porter Hedges LLP
                               1000 Main Street, 36th Floor
                               Houston, Texas 77005
                               Attention: Aaron Power
                               E-mail: APower@porterhedges.com

       Any party may, by proper written notice hereunder to the others, change the individuals or
addresses to which such notices to it shall thereafter be sent.

        8.4     Parties in Interest. Subject to the restrictions on changes in structure set forth in
Section 6.8 and other applicable restrictions contained herein, all covenants and agreements herein
contained by or on behalf of the Borrowers, the Lender shall be binding upon and inure to the
benefit of the Borrowers, the Lender, as the case may be, and their respective legal representatives,
successors and assigns.

        8.5     Rights of Third Parties. All provisions herein are imposed solely and exclusively
for the benefit of the Lender and the Borrowers and no other Person shall have any right, benefit,
priority or interest hereunder or as a result hereof or have standing to require satisfaction of
provisions hereof in accordance with their terms.

        8.6     Renewals; Extensions. All provisions of this Agreement relating to the Note shall
apply with equal force and effect to each promissory note hereafter executed which in whole or in
part represents a renewal or extension of any part of the Indebtedness of the Borrowers under this
Agreement, the Note or any other Loan Document.



                                                 - 46 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 80 of 88




         8.7     No Waiver; Rights Cumulative. No course of dealing on the part of the Lender or
their officers or employees, nor any failure or delay by the Lender with respect to exercising any
of their rights under any Loan Document shall operate as a waiver thereof. The rights of the Lender
under the Loan Documents shall be cumulative and the exercise or partial exercise of any such
right shall not preclude the exercise of any other right. The making of the Term Loans shall not
constitute a waiver of any of the covenants, warranties or conditions of the Borrowers contained
herein. In the event any of the Borrowers are unable to satisfy any such covenant, warranty or
condition, the making of the Term Loans shall not have the effect of precluding the Lender from
thereafter declaring such inability to be an Event of Default as hereinabove provided.

       8.8     Survival Upon Unenforceability. In the event any one or more of the provisions
contained in any of the Loan Documents or in any other instrument referred to herein or executed
in connection with the Obligations shall, for any reason, be held to be invalid, illegal or
unenforceable in any respect, such invalidity, illegality or unenforceability shall not affect any
other provision of any Loan Document or of any other instrument referred to herein or executed
in connection with such Obligations.

       8.9      Amendments; Waivers. Neither this Agreement nor any provision hereof may be
amended, waived, discharged or terminated orally, except by an instrument in writing signed by
the Lender and the party against whom enforcement of the amendment, waiver, discharge or
termination is sought.

      8.10 Controlling Agreement. In the event of a conflict between the provisions of this
Agreement and those of any other Loan Document, the provisions of this Agreement shall control.

        8.11 Disposition of Collateral. Notwithstanding any term or provision, express or
implied, in any of the Security Documents, the realization, liquidation, foreclosure or any other
disposition on or of any or all of the Property of the Borrowers subject to the Security Documents
shall be in the order and manner and determined in the sole discretion of the Lender; provided,
however, that in no event shall the Lender violate applicable law or exercise rights and remedies
other than those provided in such Security Documents or otherwise existing at law or in equity.

       8.12 Governing Law. This Agreement and the Note shall be deemed to be contracts
made under and shall be construed in accordance with and governed by the laws of the State of
Texas, without giving effect to principles thereof relating to conflicts of law.

       8.13    Forum Selection and Consent to Non-Exclusive Jurisdiction; Waiver of Jury Trial.

             (a)  EACH OF THE PARTIES HERETO IRREVOCABLY AND
       UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE
       EXCLUSIVE JURISDICTION OF THE BANKRUPTCY COURT AND, IF THE
       BANKRUPTCY COURT DOES NOT HAVE (OR ABSTAINS FROM) JURISDICTION,
       THE COURTS OF THE STATE OF TEXAS SITTING IN HARRIS COUNTY, AND OF
       THE UNITED STATES DISTRICT COURT OF THE SOUTHERN DISTRICT OF
       TEXAS, AND ANY APPELLATE COURT FROM ANY THEREOF IN ANY ACTION,
       LITIGATION OR PROCEEDING OF ANY KIND OR DESCRIPTION, WHETHER IN
       LAW OR EQUITY, WHETHER IN CONTRACT OR IN TORT OR OTHERWISE,


                                              - 47 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 81 of 88




       AGAINST ANY BORROWER, THE LENDER, ANY OTHER PARTY HERETO OR
       ANY RELATED PARTY OF THE FOREGOING IN ANY WAY RELATING TO THIS
       AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS
       RELATING HERETO OR THERETO.       EACH OF THE PARTIES HERETO
       IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ALL CLAIMS IN
       RESPECT OF ANY SUCH ACTION, LITIGATION OR PROCEEDING MAY BE
       HEARD AND DETERMINED EXCLUSIVELY IN THE BANKRUPTCY COURT
       AND, IF THE BANKRUPTCY COURT DOES NOT HAVE (OR ABSTAINS FROM)
       JURISDICTION, SUCH TEXAS STATE COURT OR, TO THE FULLEST EXTENT
       PERMITTED BY APPLICABLE LAW, IN SUCH FEDERAL COURT; PROVIDED,
       HOWEVER, THAT ANY SUIT SEEKING ENFORCEMENT AGAINST ANY
       COLLATERAL OR OTHER PROPERTY MAY BE BROUGHT AT THE LENDER’S
       OPTION IN THE COURTS OF ANY JURISDICTION WHERE SUCH COLLATERAL
       OR OTHER PROPERTY MAY BE FOUND. EACH OF THE PARTIES HERETO
       AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION, LITIGATION OR
       PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER
       JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER
       PROVIDED BY LAW. EACH OF THE PARTIES HERETO IRREVOCABLY
       CONSENTS TO THE SERVICE OF PROCESS BY CERTIFIED MAIL, RETURN
       RECEIPT REQUESTED, OR BY PERSONAL SERVICE WITHIN OR WITHOUT THE
       STATE OF TEXAS AT THE ADDRESS FOR NOTICES SPECIFIED IN SECTION 8.3,
       IF APPLICABLE; PROVIDED THAT NOTHING IN THIS AGREEMENT WILL
       AFFECT THE RIGHT OF ANY PARTY TO THIS AGREEMENT TO SERVE
       PROCESS IN ANY OTHER MANNER PERMITTED BY LAW. EACH OF THE
       PARTIES HERETO HEREBY EXPRESSLY AND IRREVOCABLY WAIVES, TO THE
       FULLEST EXTENT PERMITTED BY LAW, ANY OBJECTION WHICH IT MAY
       HAVE OR HEREAFTER MAY HAVE TO THE LAYING OF VENUE OF ANY SUCH
       LITIGATION BROUGHT IN ANY SUCH COURT REFERRED TO ABOVE AND ANY
       CLAIM THAT ANY SUCH LITIGATION HAS BEEN BROUGHT IN AN
       INCONVENIENT FORUM. TO THE EXTENT THAT ANY OF THE PARTIES
       HERETO HAS OR HEREAFTER MAY ACQUIRE ANY IMMUNITY FROM
       JURISDICTION OF ANY COURT OR FROM ANY LEGAL PROCESS (WHETHER
       THROUGH SERVICE OR NOTICE, ATTACHMENT PRIOR TO JUDGMENT,
       ATTACHMENT IN AID OF EXECUTION OR OTHERWISE) WITH RESPECT TO
       ITSELF OR ITS PROPERTY, EACH SUCH PARTY HEREBY IRREVOCABLY
       WAIVES TO THE FULLEST EXTENT PERMITTED BY LAW SUCH IMMUNITY IN
       RESPECT OF ITS OBLIGATIONS UNDER THE LOAN DOCUMENTS. IN SUCH
       REGARD, EACH BORROWER HEREBY SUBMITS TO THE JURISDICTION OF
       ANY LOCAL, STATE OR FEDERAL COURT LOCATED IN HOUSTON, HARRIS
       COUNTY, TEXAS, AND HEREBY WAIVES ANY RIGHTS IT MAY HAVE TO
       TRANSFER OR CHANGE THE JURISDICTION OR VENUE OF ANY LITIGATION
       BROUGHT AGAINST IT BY THE LENDER.

            (b)  EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE
       FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY
       HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
       INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY

                                     - 48 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 82 of 88




       OTHER LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED
       HEREBY OR THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY
       OTHER THEORY).    EACH PARTY HERETO (A) CERTIFIES THAT NO
       REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
       REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON
       WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
       FOREGOING WAIVER AND CONSENT AND (B) ACKNOWLEDGES THAT IT AND
       THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
       AGREEMENT AND THE OTHER LOAN DOCUMENTS BY, AMONG OTHER
       THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION
       8.13(b).

        8.14 Integration. This Agreement and the other Loan Documents constitute the entire
agreement among the parties hereto and thereto with respect to the subject hereof and thereof and
shall supersede any prior agreement among the parties hereto and thereto, whether written or oral,
relating to the subject matter hereof and thereof, including any term sheet or summary of principal
terms provided to the Borrowers by the Lender. Furthermore, in this regard, this Agreement and
the other written Loan Documents represent, collectively, the final agreement among the parties
thereto and may not be contradicted by evidence of prior, contemporaneous or subsequent oral
agreements of such parties. There are no unwritten oral agreements among such parties.

       8.15 Waiver of Punitive and Consequential Damages. Each Borrower and the Lender
hereby knowingly, voluntarily, intentionally and irrevocably (a) waives, to the maximum extent it
may lawfully and effectively do so, any right it may have to claim or recover, in any Dispute based
hereon or directly or indirectly at any time arising out of, under or in connection with the Loan
Documents or any transaction contemplated thereby or associated therewith, before or after
maturity, any special, exemplary, punitive or consequential damages, or damages other than, or in
addition to, actual damages and (b) acknowledge that it has been induced to enter into this
Agreement, the other Loan Documents and the transactions contemplated hereby and thereby by,
among other things, the mutual waivers and certifications contained in this Section 8.15.

        8.16 Counterparts. For the convenience of the parties, this Agreement may be executed
in multiple counterparts and by different parties hereto in separate counterparts, each of which for
all purposes shall be deemed to be an original, and all such counterparts shall together constitute
but one and the same Agreement. In this regard, each of the parties hereto acknowledges that a
counterpart of this Agreement containing a set of counterpart execution pages reflecting the
execution of each party hereto shall be sufficient to reflect the execution of this Agreement by each
party hereto.

       8.17 USA Patriot Act Notice. The Lender (for itself and not on behalf of any Lender)
hereby notifies each Borrower that, pursuant to the requirements of the USA Patriot Act, it is
required to obtain, verify and record information that identifies each Borrower, which information
includes the name and address of the relevant Borrower and other information that will allow the
Lender to identify each Borrower in accordance with the USA Patriot Act.

       8.18 Tax Shelter Regulations. None of the Borrowers intends to treat the Term Loans
and related transactions hereunder and under the other Loan Documents as a “reportable

                                               - 49 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 83 of 88




transaction” (within the meanings under current Treasury Regulation Section 1.6011-4 and
Proposed Treasury Regulation Section 1.6011-4, promulgated on November 1, 2006). In the event
the Borrowers determines to take any action inconsistent with the foregoing statement, it will
promptly notify the Lender thereof. If the Borrowers so notifies the Lender, the Borrowers
acknowledge that the Lender may treat the Term Loan and the related transactions hereunder and
under the other Loan Documents as part of a transaction that is subject to current Treasury
Regulation Section 301.6112-1 or Proposed Treasury Regulation Section 301.6112-1,
promulgated on November 1, 2006, and, in such case, the Lender will maintain the lists and other
records required, if any, by such Treasury Regulations.

         8.19 Inconsistencies with Other Documents. In the event there is a conflict or
inconsistency between this Agreement and any other Loan Document, the terms of this Agreement
shall control; provided that any provision of the Security Documents which imposes additional
burdens on the Borrower or any of its Subsidiaries or further restricts the rights of Borrower or any
of its respective Subsidiaries or gives the Lender additional rights shall not be deemed to be in
conflict or inconsistent with this Agreement and shall be given full force and effect. To the extent
any provision herein or in any other Loan Document is inconsistent with any term of the Orders,
the Orders shall control.

                             (Signatures appear on following pages)




                                               - 50 -
14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 84 of 88




        IN WITNESS WHEREOF, this Agreement is executed as of the date first above written.

                                   BORROWERS:

                                   AVR AH LLC,
                                   a Colorado limited liability company


                                   By:
                                   Name:
                                   Title:


                                   STRUDEL HOLDINGS, LLC,
                                   a Texas limited liability company


                                   By:
                                   Name:
                                   Title:




                          (Signatures continue on following pages)




       SIGNATURE PAGE TO SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION
                       TERM LOAN CREDIT AGREEMENT

DMS 303644570v6


14169224
       Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 85 of 88




                               LENDER:


                               AJAX HOLDINGS, LLC,
                               a [_______] limited liability company


                               By:
                               Name:
                               Title:


                             (End of signature pages)




       SIGNATURE PAGE TO SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION
                       TERM LOAN CREDIT AGREEMENT

DMS 303644570v6


14169224
Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 86 of 88



                            Schedule 1
                              Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 87 of 88


AVR AH LLC & STRUDEL HOLDINGS, LLC
7-WEEK DIP BUDGET



                                                                        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast        Forecast
                                                                           1               2               3               4               5                6               7
                                                                     Week Ending     Week Ending     Week Ending     Week Ending     Week Ending     Week Ending     Week Ending
                                                                     $ 9/10/2023     $ 9/17/2023     $ 9/24/2023     $ 10/1/2023     $ 10/8/2023     $ 10/15/2023    $ 10/22/2023          Total

Cash Receipts
Receipts
  AVR Rental Sales                                                   $         -     $         -     $         -     $         -     $         -     $         -     $          -      $           -
   TOTAL CASH RECEIPTS                                               $         -     $         -     $         -     $         -     $         -     $         -     $          -      $           -
Cash Disbursements
Operating Disbursements
HOA Dues                                                             $         -     $         -     $         -     $        -      $    250,000    $         -     $     217,737     $     467,737
Homestead Sale Obligations                                                     -               -               -           87,000             -                -               -       $      87,000
Insurance Expense                                                              -               -               -            6,040           6,040              -             6,040     $      18,119
Payroll & Benefits                                                             -               -               -              -               -                -               -       $         -
Ranch Maintenance, Equipment, and Supplies                                     -               -               -           13,000          13,000              -            13,000     $      39,000
Utilities                                                                      -               -               -            7,250           7,250              -             7,250     $      21,750
Landscape services                                                             -               -               -            9,000             -                -               -       $       9,000
Miscellaneous Ranch Expenses                                                   -               -               -           10,587           7,887              -            12,887     $      31,361
   Total Operating Disbursements                                     $         -     $         -     $         -     $    132,877    $    284,177    $         -     $     256,913     $     673,967
OPERATING CASH FLOW                                                  $         -     $         -     $         -     $   (132,877) $     (284,177) $           -     $    (256,913)    $     (673,967)
Other Disbursements
Professional Fees - Estate                                           $         -     $         -     $         -     $    480,000    $        -      $         -     $   1,306,857     $    1,786,857
Professional Fees - DIP Lender Legal                                           -               -               -          200,000         150,000              -           150,000     $      500,000
DIP Interest and Fees                                                          -               -               -              -               -                -               -       $          -
CAPEX                                                                          -               -               -              -               -                -               -       $          -
Adequate Protection                                                            -               -               -              -               -                -               -       $          -
  Total Other Disbursements                                          $         -     $         -     $         -     $    680,000    $    150,000    $         -     $   1,456,857     $    2,286,857
TOTAL DISBURSEMENTS                                                  $         -     $         -     $         -     $    812,877    $    434,177    $         -     $   1,713,770     $    2,960,824
NET CASH FLOW                                                        $         -     $         -     $         -     $   (812,877) $     (434,177) $           -     $   (1,713,770)   $   (2,960,824)

Cash Reconciliation
Beginning Cash Balance                                               $     71,538    $     71,538    $     71,538    $      71,538 $      508,661 $       324,484    $      574,484    $       71,538
DIP Advance/(Paydown)                                                         -               -               -          1,250,000        250,000         250,000         1,434,427    $    3,184,427
Net Cash Flow                                                                 -               -               -           (812,877)      (434,177)            -          (1,713,770)   $   (2,960,824)
Ending Cash Balance                                                  $     71,538    $     71,538    $     71,538    $     508,661 $      324,484 $       574,484    $      295,141    $      295,141

DIP Reconciliation
 Undrawn Balance                                                     $         -     $         -     $   3,700,000   $   3,184,427   $   1,934,427   $   1,684,427   $   1,434,427
 Accrued Post-Petition Member Advances                               $         -     $         -     $     515,573   $         -     $         -     $         -     $         -
 DIP Advance/(Paydown)                                               $         -     $         -     $         -     $   1,250,000   $     250,000   $     250,000   $   1,434,427
Ending Undrawn DIP Balance                                           $         -     $         -     $   3,184,427   $   1,934,427   $   1,684,427   $   1,434,427   $         -

Estimated Accrual of Professional Fees (Estate & DIP Lender Legal)
 Stout Risius Ross, LLC                                              $     60,000    $     60,000    $     60,000    $     40,000    $     40,000    $     40,000    $      40,000     $      340,000
 Porter Hedges LLP                                                         90,000          90,000          90,000          90,000          90,000          90,000           90,000     $      630,000
 DIP Lender Legal                                                          37,500          37,500          37,500          37,500          37,500          37,500           37,500     $      262,500
Estimated Accrued Total                                              $    187,500    $    187,500    $    187,500    $    167,500    $    167,500    $    167,500    $     167,500     $    1,232,500

Professional Fees Reconciliation (Estate & DIP Lender Legal)
 Beginning Balance                                                   $   1,030,357   $   1,217,857   $   1,405,357   $   1,592,857 $     1,080,357   $   1,097,857   $    1,265,357
 Accrual/(Disbursements)                                                   187,500         187,500         187,500        (512,500)         17,500         167,500       (1,265,357)
Ending Balance                                                       $   1,217,857   $   1,405,357   $   1,592,857   $   1,080,357 $     1,097,857   $   1,265,357   $          -

Accrued DIP Interest & Fees
DIP Interest                                                         $         -     $         -     $         -     $      1,246    $      2,740    $      3,239    $       4,917     $      12,142
Origination Fee                                                                -               -               -           37,000             -               -                -       $      37,000
Total DIP Interest & Fees                                            $         -     $         -     $         -     $     38,246    $      2,740    $      3,239    $       4,917     $      49,142
                                   Case 23-90757 Document 163 Filed in TXSB on 09/27/23 Page 88 of 88


AVR AH LLC & STRUDEL HOLDINGS, LLC
7-WEEK DIP BUDGET




Notes:
1) This DIP Budget presents a $3.7M DIP Commitment.
2) Beginning the 1st week of Ch. 11 filing, check disbursements will be recognized as cash outflow in the week in
   which they are distributed.
3) Professional fees payment timing is subject to interim compensation procedure.
4) Estimated Accrual of Professional Fees does not impact the cash flow and it presented for budget reporting
   purposes. Order approving use of cash collateral to provide carve out for full amount of accrued professional fees
   shown. Accrued professional fees excludes fees related to U.S. Trustee.
5) DIP Interest & Fees are PIK'd and will be paid in full at closing of sale of ranch. Terms: Interest - WSJ Prime
   (8.25% as of July 26) + 2%; Fees - Origination fee of 1%.
6) Accrued Post-Petition Member Advances are payments made by Charif Souki to AVR HOA and various vendors
   for the benefit of the Debtors. Post-petition advances are subject to review.
